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                                                                                                         cl4? 'l
                                              state of Tennessee
                                               Department of State
                                               Division of Business Services
                                                   312 Rosa L Parks Ave
                                            6th Floor Wm. R. Snodgrass Tower
                                                Nashville, Tennessee 37243



                                                        ZLU!l1_Q.tQ                  70090960000114766604
                                                           Date                                    Certified Number
 FileNo:           MÇ_C.Ç.QlQl2:lQQSZ
 Company:          COUNTRYWIDE FINANCIAL CORPORATION

 Name:

 Agent/POE:

 Adclmss:          4500 PARK GRANDA
                   CALABASAS, CA 91302

  Country:

      RE: JOHN H. KING JR. BY NE:X KIN. FRIEND, LABFWANT KING



      vs: COUNTHYWIDE FINANCIAL CORF'ORATION



                                                        Notice of Service
       The enclosed summons and attachments are hereby offcially served upon you by the Offce of the Tennessee
    Secretary of State pursuant to Tennessee Law. Please refer to the summons and attachments for details concern..
    ing the lawsuit filed against you. If you have any questions, please contact the clerk of the court which issued the
    summons, You can obtain the court's telephone number by calling information (area code) 555-1212. The name of
    the court and county where the court is located will be on the attached summons.

        The summons wil either tell you a court dale and time at which you must appear to defend yourself or tell you
    the number of days from the day you are served within which you must file an answer upon the plaintiffs attorney,
    Failure to appear in court at the time specified or faHure to answer the summons within the given time could result in
    " judgenient by default being rendered against you for relief sought in the lawsuit.


         The Secretary of State's Office cannot give you legal advice, If you need legal advice, please consult a private
    aitorney.




                                                                                  .i~
                                                                                      Sincerely,




                enclosures                                                            Tre Hargett
              Initial:                                                                Secretary of State
                CC:

                                                        EXHIBIT
                33.4214 (Rev 3/97)                                                                         RDA 1003
                         l 1-1 Filed
Case 3:10-cv-00271 Document      A   03/22/10 Page 1 of 51 PageID #: 7
.., .
  !


                                                                                                                                  Clarksville, Tennessee                ii
    I! Circuit Court Summons
    r
    i
                                                                                                             Me CC CV Q._ J.              00"l7
                                                                         ST A TE OF TENNESSEE
    i
                                                                    MONTGOMERY COUNTY
                                                                    19TH. JUDICIAL DISTRICT
    I John H. King, Jr. by Next Kin, Friend,                                                           Civil Action Docket No.
           Bryant King,
                                                                                                       Method of Service:
    I La                                              Plaintiff,                                        i I Montgomery Co. Sheriff
    I
                                                                                                        I lOut of County Sheriff
                                                                                                                                                                        I
                                                                                                        ( xl Secretary of State
    I
                                                                                                        ( i Certified Mail
                                                                                                                                                                        i
    i Vs.                                                                                               I I Personal Service
                                                                                                        i I Commissioner of Insurance
    ,I Countrywide.
       Countrywide Home Loans, Countrywide Financial Corp"
    I Defendant.
    I To the above named Defendant:

        You are summoned to appear and defend a civil action filed against you in the Circuit Court of Montgomery County, Tennessee,
        Montgomery County Courthouse, Court 2, Millennium Plaza, Suite i 15, Clarksville, Tennessee, 37040, and your defense must be
        made within thirt (30) days from the date this summons is served upon you. You are further directed to fie your defense with the
        Clerk of the Court and send a copy to Plaintiffs address listed below.
        ISSUED: t I t~. i in                                                                            Cheryl Castle
                                                                                                      Circuit Court Clerk
                                                                                                              Or
                                                                                                         Ted Crozier                 U)
                                                                                                        Clerk & Master
                                                                                                                                    rr¡ ~~

                                                                                                        O,'ll~                      Ji::;"' ~

Or saE; ~.
        Attorney For Plaintiff: By Next Friend LaBryant King, See T.RCiv.P., Rule 17.03 -. J, O'
                                                                                                By:
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                                                                                                                                   ,;:~ ..J"
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I ~ ~l ~:r;
¡ Plaintiffs Address: LaBryant King #1 i 5464. N. W.C.X.-Main, 960 State Route 212, Tiptonville, Tenne~~:180Æ"




I TO THE SHERIFF:
! Please execute this summons and make your return hereon as provided by law.
                                                                                                                                                 ¿~_:~~
                                                                                                                                                 i:;:i C:-.
                                                                                                                                                 Co"':.




                                                                                                                                                                    i

I
I Receive this summons for service this                            day   of                                                       2010.                             I


                                                                                                          Cheryl Castle
                                                                                                      Circuit Court Clerk
                                                                                                              Or
                                                                                                          Ted Crozier
                                                                                                                                                                    i
                                                                                                        Clerk & Master

                                                                                                By:

                                                                                                              Sheriff                                               I




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           Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 2 of 51 PageID #: 8
..
                                    RETURi~ ON PERSONAL SERVICE OF SUMMONS
 I'
                                                             day   of                                              , 2010,      I:
 I i hereby certify that on                                                 served summons             and        complaint    OIl
                                                                        in the following manner:
 ¡
                                                                        failed to serve this summons within 90 days after its


 II II
 I issuance because:



                                                                                         SherifflProcess Server
 I . RETURN ON SERVICE OF SUMMONS BY MAIL 11~
 I

 j I her~by certif~, that on the _ day of , 2010, I sent, postage I
 I prepaid by registered return mail or certified mail, a certified copy of the summons and a copy of the i
   complaint in Docket No. to the defendant, I
                                       . On the _ day of , 2010, I i
     received the return receipt for said registered or certified mail, which had been signed by I
                                                              on the _ day of , ii
     2010. Said return receipt is attached to this original summons and both documents are being sent herewith tò
     the Circuit Court Clerk or Clerk & Master for filing. i
                                                                                                                                     i


                day   of ,2010.
     SWOR1~ TO AND SUBSCRIBED BEFORE ME ON THIS

                                                                                Plaintiff, Plaintiffs Attorney or Other person
                                                                                Authorized By Statute To Serve Process
     _Notary Public or _ Deputy Clerk
     MY COMMISSION EXPIRES:

     TO THE DEFENDANT(S); Tennessee law provides a four thousand dollar
                                                                                                                                     I
     ($4,000.00) debtor's equìty interest personal property exemption from
     execution or seizure to satisfy a judgment. If a judgment must fie a written list
     under oath, of the items you wish to claim property as exempt, you must fie a                                                   )
     written list, under oath, of the items you wish to claim as exempt with the clerk                                               i
     of the court. The list may be fied at any time and may be changed by you
     thereafter as necessary; however, unless it is fied before the judgment                                                         I


     becomes final, it will not be effective as to any execution or garnishment issued
     prior to the fiing of the list. Certain items are automatically exempt by law and
     do not need to be listed; these include items of necessary wearing apparel                                                      I

     (clothing) for yourself and your family and trunks or other receptacles
     necessary to contain such apparel, family portraits, the family Bible, and                                           "" " .,1
     school books. Should any of these items be seized, you would have the right to
     recover them. If you-do not understand your exemption right or how to exercise
     it, you may wish to seek the counsel of a lawyer.
                                                                                                                                     I
     STATE OF TENNESSEE )                         i Q~ Ch Q,e . Clerk of Circuit Court or Clerk & Master ..1
     COUNTY OF MONTGOMERY)                       in the Sta and County aforesaid, do hereby certify this to be a true and
                                                 Correct copy of    the original summons issued in this case:

                                                 By: \).k\~



         Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 3 of 51 PageID #: 9
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                                                                                                                           .. :-sO
           IN THE CIRCUIT COURT FOR MONTGOMERY COUNTY, TENNESSEE:: 1 7Jn



~~~~~~~;i~~:" by Next F:i::TE~tT~=~L~::TRI:'6Î ~ i" l\~
                                    Plaintiff, MC cc CV ._,_.. ~._.- ----- ": 1 i:gh1
                                                                                                                                ,i -(~.;
Vs.                                                           CASE     NO.
                                                                                                                                \0 ~
Countrywide Financial Corporation,
Countrwide Home Loans, Bank of America,
American Freedom Mortgage, Tamra
Burch, and American Title Company, Inc.,

                                    Defendants.

                                       Next Friend's Oath And Affrmation
   I, LaBryant King, Next Friend of his Father, Plaintiff John H. King Jr., do solemnly swear

under penalties of perjury, avers and affirms that, owing to his poverty, Plaintiff is not able to

bear the expense of           the action in which he his about to commence, and that he is justly entitled to

the relief sought, to the best of         the Next Friend's belief', See T.C.A.§§20-12-127.

  Also, owing to his mental condition and incapacity (early stages of Alzheimer's disease and/or
                                                                             l
dementia) Plaintiff is unable to prosecute this action. See \t:?::~.§20-12~1;,~~,::,/~~=:::::'~=~)
                                                                          ..),/.,.,....\, (..7";'~'/ ---¿?('''_,,~....\..../-


                                                                       "fi.,." Aff~\it, LaBryant Kin~NexJ
                                                                  t.. ,J Kin, Frie~:~,...,,///
STA TE OF TENNESSEE )                                                            'I__.~" ,_~.
COUNTY OF LAKE )
  PERSONALLY APPEARED BEFORE ME, LaBryant King, the undersigned, a Notary
Public, in and for said County and State, Lake, whose identity I have personally verified, and

                                    ,"t.'.~'L AII~~' . d 10
who acknowledge that he exe.~litê'~i¥'rt-€~,oing document for the purpose herein stated.
   SWORN TO AND SUn~1frl''"~ ..~ this ge.day of )(l~ , 20ø:
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1t.ú¡l~./+et ~~lëim~ission Expires: ik.h c2c9l/
           Notary Pubhc -; e" PUBLIC L \ i
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  Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 4 of 51 PageID #: 10
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                  IN THE CIRCUIT COURT FOR MONTGOMERY COUNTY, TENNESSEE
                                 NINETEENTH JUDICIAL DISTRICT
                                       AT CLARKSVILLE
     John H. King Jr., by Next Friend
     LaBryant King,


                                  Plaintiff,

     Vs.                                          CASE    NO.

     Countrwide Financial Corporation,
     Countrywide Home Loans, Bank of America,
     American Freedom Mortgage, Tamra
     Burch, and American Title Company, Inc.,

                                 Defendants.

                                 UNIFORM AFFIDAVIT OF INDIGENCY

       I, LaBryant King, Next Friend of John H. King Jr., having been duly sworn according to law,

     make oath that because of his poverty, Plaintiff and/or his Next Friend is unable to bear the

     expenses of this case and that he is justly entitled to the relief sought to the best of my belief.

     The following facts support his povert.



     1. Full Name: Mr. LaBryant.
     2. Address: Northwest Correctional Complex-Main, 960 State Route 212. Tiptonville,
     Tennessee 38079.

     3. Telephone Number: Not applicableUnkown.
     4. Date of      Birth: May 30, 1960.
     5. N ames and Ages of All Dependents:

           Not applicable                                           Relationship                                    ':.; :;;':'f~¡::~


           Not applicable                                           Relationship
           Not applicable                                           Relationship
           Not applicable                                           Relationship                           ~.~.-,



           Not applicable                                           Relationship




     Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 5 of 51 PageID #: 11
6. I am employed by: Not applicable.
     My employer's address is: Not applicable
     My employer's telephone number is: Not applicable
7. My present income, after federal income and social security taxes are
      deducted, is:

                   $ Not applicable per week or $ Not applicable per month.
8. I receive or expect to receive money from the following sources:

      AFDC                $ Not applicable    per month beginning Not applicable
      SSI                 $ Not applicable    per month beginning Not applicable
      Retirement          $ Not applicable    per month beginning Not applicable
      Disability          $ Not applicable    per month beginning Not applicable
      Unemployment        $ Not applicable    per month beginning Not applicable
      Worker's Compo $ Not applicable         per month beginning Not applicable
      Other               $ Not applicable    per month beginning Not applicable

9. My expenses are:

         Rent/House Pymt.                $ Not applicable   per   month


         Groceries                      $ Not applicable    per month
         Electricity                    $ Not applicable    per   month


         Water                          $ Not applicable    per   month


         Gas                            $ Not applicable    per   month


         Transportation                 $ Not applicable    per   month


         MedicallDental                 $ Not applicable    per   month


         Telephone                      $ Not applicable    per month
         School Supplies                $ Not applicable    per month
         Clothing                       $ Not applicable    per   month


         Child Care or Court-            $ Not applicable   per   month


         Ordered Child Support          $ Not applicable    per month
         Other                          $ Not applicable    per month

9.    Assets: Not applicable




                                                   2


 Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 6 of 51 PageID #: 12
Automobile                                   $ Not applicable       (Fair Market Value)
Checking/Savings Account                     $ Not applicable
House                                        $ Not applicable (Fair Market Value)
Other                                        $ Not applicable

1 i. My debts are:
           Amount   Owed                                                 To Whom
           Not applicable                                                Not applicable
           Not applicable                                                Not applicable
           Not applicable                                                Not applicable
           Not applicable                                                Not applicable



 I hereby declare under the penalty of perjury that the foregoing answers are true, correct, and

                                                                                 this action~ . _ ,_..

                                                                  X(~~
complete and that I am financially unable to pay the cost~ of




                                                                   IJ~/
                                                                l.../ Nex, Friend LaBryant rdpg, . ) _"


                              ORDER ALLOWING FILING ON PAUPER'S OATI ~ \ ~i~
                                                                                                         c::''::0
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                                                                                                         ~ ~  L '" ~). l''' , ~

      It appears based upon the Affdavit ofIndigency fied in this cause and after due in~r~¡ rl ~-: '
made that the Plaintiff is an indigent person and is qualified to fie this cae on a pauper's o~. ' ::. ~.:.\
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           It is so ordered        1 day
                            this the  .,n10
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                                                   ,200j:3¡;~
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                                                                                     lSi ROSS H. HiCKS
                                                                                           JUDGE




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   Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 7 of 51 PageID #: 13
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                                    DETERMINATION OF NON-INDIGENCY

                It appears based upon the Affdavit ofIndigency fied in this cause and after due inquiry
         made that the Plaintiff is not an indigent person because



                IT IS ORDERED AND ADJUDGED that the Plaintiff does not qualify for fùing this
         case on a pauper's oath.

                This the _ day of             ,200_.


                                                                                  JUDGE

                                                                                                          ,~..:;.




                        NOTICE: If the judge determines that based upon your affdavit you are not
                        eligible to proceed under a pauper's oath, you have  the right to a hearing
                        before the judge or, in those cases that can be appealed to Circuit Court, a
                        hearing before the Circuit Court judge.




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          Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 8 of 51 PageID #: 14
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                IN THE CIRCUIT COURT FOR MONTGOMERY COUNTY, TENNESSEE
                               NINETEENTH JUDICIAL DISTRICT                 ":'.i:J

                                     AT CLARKSVILLE                   N ~"J:..~~
                                                                                                  :: t :f! ("
     John H. King Jr., by Next Friend,                                                            i; \ 0-"
                                                                                                  ~ ~'~i)
     LaBryant King,

                                  Plaintiff,                 o \ i'l
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     Vs.                                            CASE   NO.
                                                                                                   q:     l,

     Countrywide Financial Corporation,
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     Countrywide Home Loans, Ban of America,
     American Freedom Mortgage, Tamra
     Burch, and American Title Company, Inc.,

                                 Defendants.

                                                 COMPALNT

          COMES NOW, the Plaintiff, John H. King Jr., by and through LaBryant King, as Next Friend

     of    his Father, and brings this action pursuat to T.C.A.§§47-18-101, §47-18-109(a)(1), (3), (b);

     §47-18-112, of    the Tennessee Consumer Protection Act of 1977.

                                               JURISDICTION

          This Court has subject matter junsdiction over this cause of action pursuant to the mandates of

     T.C.A.§§16-10-106, §16-11-102(a); §20-2-214(a)(1)-(4), and 47-18-109(2).

                                        STATUTE OF LIMITATIONS

          Per T.C.A.§47-18-110, "Any action commenced pursuant to T.C.A.§47-18-109 shall be

     brought within one (1) year from a person's discovery of the unlawful act or practice. Thus,

     under the discovery rule, a cause of action accrues and the statute of limitations commences to

     run when (a claimant) discovers, or in the exercise of reasonable dilgence ... should have

     discovered the (wrongdoing)." Stanbury v. Bacardi, 953 S.W.2d 671, 675(Tenn.1997), Terry

     v. Community Bank of Northern Virginia,255 F.Supp.2d 817(W.D.Tenn.2003). In the

     instant case, Plaintiff contacted Defendant Countryide in February 2009, requesting all loan




      Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 9 of 51 PageID #: 15
documents and the historical monthly statements relative to Account No.: 042264364.

Subsequently, on March 9,2009, Defendant Countrywide provided Plaintiff                     with a copy of   the

"Note" (Loan Number: 031112054) and "Transaction History For 2005 & 2008". See

(Exhibit No.1: Note (Loan Number: 031112054) and Deed Of Trust; Exhibit No.2:
Transaction History For Account No. 042264364, 2005 & 2008, Date Prepared 01103/06 &

01115/09). After being provided with such documents, the Plaintiff forwarded such documents to

the Next Friend named in this Complaint, and only afer his review of the documents were the

alleged unfair and deceptive acts of                   Defendants "AMF", "CFC", and "BAC" discovered.

        More specifically, because of                  the named Defendant's ("AMF", "CFC", "BAC") failure to

make the mandatory disclosures pursuant to the Federal Truth In Lending Act (herein TILA),

15 U.S.C.§§1631(a), (b); §1632(a), §1638, §1639; 12 C.F.R.§226.5B; T.C.A.§47-14-125(a);


and §45-2-11 07"; the ilegal nature of the interest, rates, charges, fees, and costs; as well as; the

true identity of the actual lender was concealed from the Plaintiff. In other words, since the

National Banking Act and Federal Depository Institutions Deregulation and Monetary

Control Act permit out of state state-charered banks to charge interest and loan fees in excess of

the statutory ceilings imposed by Tennessee, Plaintiff was unaware at closing that any

malfeasance had occurred. Thus, Plaintiff was unaware of the facts supporting his cause of action

until they were discovered by the Next Friend through reasonable diligence and a review of the

loan documents received on March 9, 2009. Therefore, the discovery rule outlined in T.C.A.§47-

18-110 applies to this case, and the Complaint is timely.




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Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 10 of 51 PageID #: 16
                                                                  PARTIES

1. Plaintiff, John H. King Jr., at all times herein mentioned, was a resident of 430 Glenn Street,

      Clarksvile, Montgomery County, Tennessee, 37040.

2. Defendant Countryide Financial Corporation, (herein "CFC"), a wholly owed

      subsidiar of Bank of America (herein "BAC"), is a thrift holding company, and at all

      times mentioned herein engaged in the funding of real estate secured, owner occupied

     residential mortgage loans; as well as the purchasing of such mortgages from independent

      servicers, and/or unaffiliated third parties.

3. Defendant Countrywide Home Loans, Inc., a wholly owned subsidiar of                   "BAC" is or was

     a licensed mortgage baning organization, and at all times mentioned herein engaged in the

      funding of real estate secured, owner occupied residential mortgage loans; as well as the

     purchasing of such mortgages from independent servicers, and/or unaffiliated third parties.

4. Defendant "BAC", a Delaware Corporation, purchased "CFC", on July 1, 2008, including

      Countryide Home Loans, Inc. and Countrywide Financial Corporation.

5. Defendant American Freedom Mortgage Inc., a Georgia corporation, (herein "AFM")

     wholly owned by Tamara Burch, was a medium sized retail                 lender, private S Corporation,

      which conducted business as a multiKstate direct to consumer correspondent lender and

      mortgage broker specializing in the origination of subKprime and Atl-A mortgage loans.

6. Defendant American Title Company Inc. at all times herein mentioned is named as the

      Trustee in the "Deed of Trust".




                                                                         3



 Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 11 of 51 PageID #: 17
                                        DEFINITIONS

1. "CFC Purchased Loans" means any residential mortgage originated by an unaffiliated third

   par and directly or indirectly purchased by "CFC" or its subsidiaries through their
   correspondent lending channels or otherwise provided. "CFC" purchased loans do not

   include "CFC" originated residential mortgage loans.

2. "Consumer" means any natural person who seeks or acquires by purchase, any service or

   things of value wherever situated, or any such person who is solicited to purchase or who

   purchases the services of a credit services business; as well as such person in whose principle

   dwellng a security interest is retained or. T.C.A.§47-18-103.

3. "Mortgage" means a mortgage or "Deed Of Trut" as defined in, and allowed pursuant to

   T.C.A.§66-S-103. See T.C.A.§4S-13-102(9).


4. "Mortgage Lender" means any person who in the regular course of business lends money

   that is secured by a mortgage. See T.C.A.§45-13-102(lO).

5. "Mortgage Loan" means any one-to-four family residential owner occupied loan secured by

   a first or second mortgage intended for personal, family, or household puroses. See

   T.C.A.§45-13-102(1l).

6. "Mortgage Loan Broker" means any unaffliated third pary, person, or corporation, who for

   compensation or other gain, paid directly or indirectly, or in expectation of compensation or

   offers to do so, solicits, places, negotiates or originates mortgage loans for others, or who

   closes mortgage loans that may be in the mortgage loan broker's own name, which loans are

   thereafter sold or transferred to another person or corporation, through contact by


   correspondence, mail, telephone, or in person with the borrowers or potential borrowers. See

   T.C.A.§45-13-102(12).




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Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 12 of 51 PageID #: 18
7. '~Mortgage Loan Originator" means any unaffliated third party, person, or corporation who

   provides services to one or more licensee or registrant in exchange for compensation by that

   licensee or registrant. The term does not include an employee of a licensee or registrant

   whose job responsibilities are limited to clerical tasks. See T.C.A.§45-13-102(13).

8. "Mortgage Loan Servicer" means any unaffiliated third pary, person, or corporation who in

   the regular course of business assumes responsibility for servicing residential mortgage loan.

   See T.C.A.§45-13-102(14).

9. "Sub-prime Mortgage Loans" means a residential mortgage that combines higher risk

   features (such as low or no documentation, low equity, adjustable interest rates, prepayment

   penalties, cash-out financing) with higher risk borrowers profies (lowers FICO scores,

   recent banptcy/foreclosure, major derogatory credit), resulting in a loan that could not

   reasonably be underwritten and approved as a "prime" loan.

10. At all times described below, whenever reference is made in this complaint to Defendant

   "AFM", such allegations shall be deemed to mean the act or practice of a (1) "Mortgage

   Loan Broker", (2) "Mortgage Loan Originator", (3) "Mortgage Loan Servicer", and

   "Mortgage Lender".

1 1. At all times described below, whenever reference is made in this complaint to Defendant's

   "CFC" and "BAC", such allegations shall be deemed to mean the act or practice of

   purchasing directly or indirectly a mortgage originated by an unaffliated third pary.

12. At all times described below, whenever reference is made in this complaint to any act or

   practice of Defendants, such allegations shall be deemed to mean that the act of each

   Defendant, officers, directors, employees, agents, representatives, and any unaffliated third

   pary servicers, acting individually and jointly.




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 Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 13 of 51 PageID #: 19
                                             ALLEGATIONS

                                                     I

     Defendant's "AFM", "CFC", and "BAC" have at all times described below, engaged in

   conduct which constitutes "trade, commerce, consumer transaction, the offering and/or providing

   of goods, services", as defined in T.C.A.§§47-I8-103(5), (10), (11).

                                                     II

     Plaintiff   have at all times described below, engaged in conduct which constitutes the terms ofa

   "consumer" as defined in T.C.A.§§47-I8-103(2).

                                                    III

    Plaintiff avers that Defendant's "AFM", "CFC", and "HAC" have at all times described

   below, violated and/or continuing to violate the Tennessee Consumer Protection Act of 1977,

   by means of unfair and deceptive business acts and practices; as well as fraudulent
   misrepresentations.
                                                                                                         ','";'



                                                    iv
    Specifically, Plaintiff avers that during negotiations (correspondence and telephone
   conversations), between the months of November and December 2003, Defendant "AFM"

   induced him into signing the "Note" and "Deed Of Trust" contained in this case by mean of

  unfair and deceptive business practices. More specifically, through (1) the nondisclosure and

  withholding of material information, (2) overt coercion, (3) false misrepresentations of low

  teaser rates, monthly payments, and no closing costs, (4) constant and routine advise to accept

  the high priced loan contained herein, and (5) a high degree of susceptibility due to his age (79

  years old); Defendant "AFM" led him to believe that he was eligible for, and could afford a loan

  that he could not. See (Exhibit No.3: State of Tennessee, ex reI. Robert E. Cooper Jr.,


                                                     6


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Attorney General and Reporter v. Countrywide Financial Corporation, a Delaware

corparation, Countrywide Home Loans, Inc., a New York corporation; and Full Spectrum

Lending Inc., a California corporation, Complaint For Permanent Injunction And Other

Relief, pgs. 4-5, Case No. 09C202, Circuit Court of Davidson County(Jan.22, 2009)(copies

of complaint and settlement documents available at http://state,tn.us/attorney
general/cases/countrywide/countryide.html.; Exhibit. No.4: The Mortgage Lender
Implode-O-Meter News Pick-ups: Imploded: American Freedom Mor...http://ml-

implode.com/imploded/lender _ AmericanFreedomMortgage, Inc._ 2007-1-30.html).

                                               V

  Also, Plaintiff avers that during the above mentioned negotiations Defendant "AFM" falsely

and fraudulently promised him that he would receive funds in the amount of $20,000.00 to


$25,000.00 for the purose of   home improvements, at a fixed rate, and that such rates would not

be adjustable at a later date. Said Defendant further informed him that there would be no closing

costs. However, it is the averment of the Plaintiff that such funds or amounts ($20,000.00 to

$25,000.00) were never disbursed to him by Defendant "AFM" or any other named Defendant,

and the "Note" and "Deed Of Trust" contained in this case is usurious. Thus, this averment

addresses a patently false disclosure of Defendant "AFM" as it relates to the funds and amounts

he would receive, the fees and costs that would be charged; as well as the failure to perform the

actual disbursement of funds. More over, the Transaction History For 2005 & 2008, clearly

demonstrates that the original interest rates and monthly installment payments increased in 2005.

See (Exhibit No.2: Transaction History For Account No. 042264364, 2005 & 2008, Date

Prepared 01103/06 & 01115/09).




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                                                                        VI

   It is the averment of the Plaintiff that neither the "Note" of December 30, 2003, nor "Deed Of

Trust" contained in this case is in compliance with the Federal Truth In Lending Act 15

U.S.C.§§1631(a), (b); §1632(a), §1638, §1639; 12 C.F.R.§226.5B; per the mandates of

T.C.A.§47-14-125(a). Specifically, neither the "Note" nor "Deed Of Trust" disclose the 0)

method of determining the finance charge, (2) amount to be financed, (3) total of payments, (4)

number and amount of payments, (5) retention or acquisition of a security, (6) processing fee, (7)

administrative fee, (8) application fee, (9) how to exercise the right to rescind, (l0) the effects of

rescission, and (11) Notice Of                 Cancellation. See (Exhibit No.1: Note and Deed Of   Trust).

                                                                        VII

   Plaintiff also avers that during negotiations, and at the December 30, 2003, signing of the

"Note" and "Deed Of Trust" contained in this case, Defendant "AFM" never informed him

that 0) the sub-prime and/or Alt-A mortgage loan he received is riskier in that they are made to

borrowers unable to qualify for traditional loans, (2) the sub-prime and/or Alt-A mortgage loan

he received has a much higher rate of default, (3) he was unqualified according to underwriters

standards to receive the residential mortgage loan contained in this case, (4) by signing the

"Note" of December 31,2003, and "Deed Of Trust", he was placed in a risky, high priced, and

ultimately unaffordable mortgage loan which would result in his being delinquent on his monthly

installment payments and foreclosure, and (5) that such corpration was increasing it's                  market

share by offering financial incentives to employees and brokers to sell more non~traditionalloans

with increasingly less adherence to underwriting guidelines. See (Exhibit No.3: State of

Tennessee, ex ref. Robert E. Cooper Jr., Attorney General and Reporter v. Countryide

Financial Corporation, a Delaware corparation, Countrywide Home Loans, Inc., a New



                                                                          8



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York corporation; and Full Spectrum Lending Inc., a California corporation~ Complaint

For Permanent Injunction And Other Relief~ pgs. 4-5, Case No. 09C202, Circuit Court of

Davidson County(Jan.22, 2009)(copies of complaint and settlement documents available at

http://state,tn.us/attorney general/ cases/countryide/countryide.html.).

                                                             VIII

  Plaintiff furter avers that the December                30, 2003, "Note" and "Deed Of Trust~' are usurious

and unenforceable because the Principle amount, charges, costs, and interest demonstrated upon

the face of said are excessive and "deceptively manufactured". Specifically, the language


contained in paragraph i of the "NotelInstallment Contract" states in pertinent par: "In return

for a loan that I have received, I promise to pay U.S. $56,250.00". This amount is called the

"Principal, plus interest". However, such amount is not the "Principal". In Commercial Law the

"Principal" is the amount of                 the loan not including interest. See Blacks Law Dictionary, Sixth

Edition~ pg. 1192(1990). More specifically, the statement "In return for a loan that I received"

clearly demonstrates that the specific loan amount, which would be the "Principle", is not stated

or indicated. Therefore, the "$56,250.00" stated upon the face of the "Note" and "Deed Of

Trust" is the amount Plaintiff promised to pay on a unspecified, uncertain, and unstated


principle loan amount. Thus, the "$56,250.00" stated in the "Note" and "Deed Of Trust" is not

the "Principle", and any calculation of the 6.5% interest relative to such amount can only be

usurious and excessive. For such rate should have been calculated against the actual amount of

the lone which is unspecified, uncertain, unstated, and unknown. (Exhibit No.1: "Note" and

"Deed Of Trust"); ~ also Deaton v. Vise, 210 S.W.2d 665(Tenn.1948), Terry v.

Community Bank of Northern Virginia~ 255 F.Supp.2d 817(W.D. Tenn. 2003), Jefferies v.

Ameriquest Mortg. Co.,543 F.Supp.2d 368(E.D.Pa. 2008).




                                                               9



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                                                ix
   Also, Plaintiff avers that the monthly payments of $355.54, for thirty (30) years is a

"deceptively manufactured amount" and is excessive because it results in an amount exceeding

that which would be paid for the actual loan amount (which is unspecified, uncertain, unstated,

and unknown) that was between $20,000.00 to $25,000.00. More specifically, the monthly

payments of $355.54 for a period of thirty (30) years results in the payment of an amount

($127,994.40) in excess of that necessary to pay the Principle loan amount ($20,000.00 to

$25,000.00) plus interest. (Exhibit No.1: Note/lnstallment Contract and Deed Of TrustJ.

                                                 X

  It is the further averment of the Plaintiff that Defendant "AFM" engaged in a scheme to

mislead him concerning the true nature of financing as it relates to the mortgage loan in this case.

Harvey v. Ford Credit Company, 8 S.W.3d 273, 275(Tenn.Ct.App.1999). Specificaly,

Defendant" AFM" failure to disclose the true nature of the charges, costs, and interest relative to

the "deceptively manufactured" amount of "$56,250.00", demonstrated upon the face of "Note"

and "Deed Of Trust" is actionable here, where the Defendant engaged in a pattern of deceptive

conduct. Adkinson v. Harpeth Ford-Mecury, Inc., WL 17177(Tenn.App.1991). (Exhibit No.


l: Note and Deed Of TrustJ.

                                                XI

  Furtermore, it is the averment of the Plaintiff that based upon a plain reading of the "Note"

and "Deed Of Trust" contained in this case, it is impossible to determine whether any charges,

costs, and interest are accurate pursuant to 12 C.F.R. §226.23(g)(I) Regulation Z, T.C.A.§47-

14-125(a). (Exhibit No.1: Note and Deed Of       Trusti. Specifically, Plaintiff   has shown material

issues relative to whether "AFM's" disclosures of a "$56,250.00 Principal" is deceptively




                                                 10



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manufactured and materially inaccurte. Plaintiffs arguments regarding the material
inaccuracies that lead to the disclosure violations can be broken into two categories: (l)" AFM"

did not disclose all of the finance charges as required by 12 C.F.R. §226.4(b), and (2) "AFM"

charged costs, fees, and interest that were not bona fide or were unreasonable, and did not

disclose said in violation of T.C.A.§47-14-12S(a), T.C.A.§45-2-1107, 12 C.F.R. §226.4(c)(7).

Jefferies v. Ameriquest Mortg. Co., 543 F.Supp.2d 381-82.

                                              XII

 Plaintiff avers that Defendant "AFM" made a direct payment of the (unspecified, uncertain,

unstated, and unknown) principle amount relative to the contract of December 30, 2003, to a

home improvement contractor in violation ofT.C.A.§45-13-123(a).

                                              XIII


  Plaintiff avers that Defendant "AFM" has failed to credit and record all of the monthly

installment payments of $355.54, he made durng the months of Februar through December of

2004, relative to the December 31, 2003, "Note". Specifically, there is no accounting records

and/or transaction history relative to Loan No. 031112054, thus, there is no record reflecting or

disclosing that such monthly payments were accredited to his mortgage loan. See (Exhibit No.

2: Transaction History For Account No. 042264364,2005 & 2008, Date Prepared 01103/06

& 01115/09).

                                              XlV

 More specifically, it is the furher averment of the Plaintiff that Defendant "AFM" has failed

to properly maintain his loan account, which has resulted in an inaccurate payment and


transaction history relative to Loan No. 031112054 and Account Number 042264364. (Exhibit




                                               11




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No.2: Transaction History For Account No. 042264364, 2005 & 2008, Date Prepared

01103/06 & 01/15/09).

                                                   xv

   In addition, the Plaintiff avers that (1) the "5% late charge" on overdue payments language

contained in Paragraph 6.(A) and the "right to be paid back" language in Paragraph 6.(E) of the

"Note", (2) the "No Offset" language of   Paragraph 1 in the "Deed Of   Trust", (3) the "additional


debt for interest and rates" language in Paragraph 9 of the "Deed Of Trust", (4) the "Default"

language for the initiation of "any action or proceeding, whether civíI or criminal" and "the


forfeiture and cancellation of proceeds from any claim or damages" language of Paragraph 11 in

the "Deed Of Trust", and (5) the language in Paragraph 14 of the same relative to "fees for

services performed in connection with any default. . .and other fees that 'are not' specified"; are

"unenforceable penalties" under Tennessee Law. Beasley v. Horrell, 864 S.W.2d 45, 50-

51(Tenn.Ct.App. 1993), Brooks v. Network of Chattanooga, Inc., 946 S.W.2d

321,324(TennCt.App.1996), and Goggin Truck Line Co., Inc. v. Brake Pro,Ine., WL

1183058(Tenn.Ct.App.2000).

                                                  XVI

  Based upon a plain reading of the language contained Paragraph 6.of the "Note" (A), it is the

averment of the Plaintiff that the "5% late charge" contained therein is actually interest. Kelso

Oil Co. Inc. v. East West Truck Stop, Inc., 102 S.W.3d 655(Tenn.Ct.App.2002). Such

language clearly demonstrates that the "late charge" is compensation for the continued use of the

money owed on the "Note" and that such provision was made in consideration of forbearance

and for the extension of time for payment. More specifically, the Defendant "AFM", would

receive such "late charge" based solely on the terms of the "Note". To be sure, the "5% late



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charge" must be paid as consideration for the Defendat's forbearance of asserting his right of

collection. Wilson v. Dealy, 434 S.W.2d 835,837(Tenn.1968). Thus, the "5% late charge"

constitutes interest and is usurious because it is compensation for the use of money. Richardson

v. Brown, 68 Tenn. 242(1877), Bang v. Phelps & Bigelow Windmil Company, 96 Tenn.

361,34 S.W. 516(1896). (Exhibit No.1: Note, pg. 3J.

                                              XVII

 Also, it is the averment of the Plaintiff that the "5% late charge" constitutes a double interest

provision and is an unenforceable damages penalty. Specifically, Paragraph 2 of the "Note"

contains a 6.5% yearly interest rate. However, if the Plaintiff fails to make a monthly payment,

Paragraph 6.(A) mandates a charge of 5% of the "Principal and Interest". Such charge clearly

results in the payment of the 6.5% interest on the principal amount, plus the payment of 5% of

such interest, which constitutes "interest on interest". More over, such "5% late charge" results

in payment of interest above the 6.5% yearly interest rate. In fact, the 5% late charge added to

the 6.5% yearly interest rates becomes 11.5%. Richardson v. Brown, Supra., Bang v. Phelps &

Bigelow Windmil Company, Supra. Thus, because the "5% late charge" compensates for the

use of money, such charges are subject to State regulation of interest rate and exceeds the yearly

rate contained in the "Note". As such, said charge or rate is usurious, and voids the contract.

(Exhibit No.1: Note, pgs. 1, 2J.

                                             XVIII

  It is the further averment of the Plaintiff that the "No Offset" language contained in Paragraph

  of the "Deed Of Trust" constitutes a fodeiture and/or cancellation provision. Within this

paragraph it is mandated that no "Offset" or claim" Plaintiff might have now or in the future

against the Defendant's wil relieve him from making the monthly installment payments due




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lUder the "Note" and ~~Deed Of Trusf'. Specifically, the language demonstrates that if this

Cour grants injunctive or declaratory relief, or any monetary damages or judgment on the claims

in this action he wil not be relieved of any ilegal or usurious interest, rates, charges, costs, or

fees in the "Note" and 44Deed Of Trust", nor can he "Offset" or reduce the balance of the

"Note" and "Deed Of Trust" if this Court rescinds such documents based upon claims

contained in this action. (Exhibit No.1: Deed Of                                 Trust, para.   1).

                                                                       xix
   Based upon the no "Offset" language, the Plaintiffs avers that he would forfeit any and all

claims, injunctive and declaratory relief; as well as any monetary damages or judgment granted

in this action by the Court. It is obvious that no purpose other than a penalty or forfeiture is


served by such language. Without question, the language constitutes an unenforceable penalty

because it is not a reasonable estimation of the foreseeable damages from the failure to make

installment payments required by the "Note", Beasley,Id. at 50. Here, this Cour canot enforce

a provision or language in a contract that results in a forfeiture of an amount "greatly in excess"

of the amolUt of actual damages, not to mention the fact of the "deceptively manufactured"


Principle amount. Harmon v. Eggers. 699 S.W.2d 159, 163 (Tenn.App.1985) (quoting Eller

Brothers, Inc. v. Home Federal Savings & Loan Assn., 623 S.W.2d 624, 628
(Tenn.App.1981)). Forfeitures or penalties are not favored by our law. Eller Bros., Inc. v.
Home Federal Save & Loan Ass'n of Nashvile, 623 S.W.2d 624,628(Tenn.Ct.App.1981).

Any doubt as to whether a sum is a penalty or liquidated damages wil generally be resolved as a

penalty because forfeitures and penalties are not favored. Goggin Truck Line Co., Inc. v.

Brake Pro,Inc., Id. at *, Harmon. 699 S. W.2d 163. (Exhibit No.1: Deed Of                             Trust, para. 1).




                                                                            14



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                                                                           XX

   It is the further averment of the Plaintiff that (l) the "reasonable attorneys' fees" language in

Paragraph 6.(£) of            the "Note", (2) "paying reasonable fees to protect it's interest in the property

and/or rights" language in Paragraph 9 of the ""Deed Of Trust", and (3) "attorneys' fees"

language in Paragraph 14 of the sae document constitutes unenforceable penalties.

Specifically, such. language was not drafted into said paragraphs based on a "reasonable

estimation" of any attorney fees that may be incurred by Defendant's as a result of defending

against any civil or criminal proceeding. More specifically, neither the ""Note" nor "Deed Of

Trust" provides a "specific amount to be allowed and paid as attorney fees". Nu-Way Ice

Cream Mach. Co. Inc. v. Pig'n Whistle, 65 S.W.2d 575, 579(Tenn.1933), Cummings & Co.

v. Mascari, 402 S.W.2d 719,728-29(lenn.1966), Wilson Management Company v. Star

Distributors Co., 745 S.W.2d 870,872-73(Tenn.1988). (Exhibit No.1: Note, pg. 2 and Deed

Of Trust, para. 9, 14).

                                                                       XXI

   Also, it is the averment of the Plaintiff that where the '"Note" and "'Deed Of Trust" fails to

provide for a "specific amount allowed and to be paid as attorney fees", there is no proof or

evidence as to what would be reasonable, thus, Defendant's have waived any attorney fees. More

over, this Court is without authority to award such fees. Nu-Way Ice Cream Mach. Co. Inc. v.

Pig'n Whistle, Supra. Cummings & Co. v. Mascari, Supra., and Wilson Management

Company v. Star Distributors Co., Supra. (Exhibit No.1: Note and Deed Of                     Trust).

                                                                      XXI
   Plaintiff avers that this Court must follows the "American Rule" that "in the absence of a

contract or statute so providing, there is no right to have attorneys' fees paid by an opposing




                                                                           i5



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party in civil litigation." State ex reI. Orr v. Thomas, 585 S.W.2d 606, 607
(Tenn.1979)(citing Deyerle v. Wright Mfg. Co., 496 F.2d 45(6th.Cir.1974); Carter v. Va.
Sur. Co., 187 Tenn. 595, 216 S.W.2d 324(Tenn.1948); Raskind v. Raskind, 45 Tenn.App.

583,325 S.W.2d 617(Tenn.Ct.App.1959); Gilespie v. Fed. Compress & Warehouse Co., 37

Tenn.App. 476, 265 S.W.2d 21(Tenn.Ct.App.1954); Marshall V. Fisrt Nat. Bank of

Lewisburg, 622 S.W.2d 558(Tenn.Ct.App.1981). Specifically, attorney's fees are not ordinarily

an element of contract damages. Stringfield v. Hirsch, 94 Tenn. 425, 437-38, 29 S.W. 609,

613(1895); Goings v. Aetna Cas. & Sur. Co., 491 S.W.2d 847, 848(Tenn.Ct.App.1972).

Accordingly, the "Note" and "Deed Of Trust" must contain an express provision for the

payment of attorney's fees in order to enable Defendant's to recover the legal expenses they may

incur relative to a any civil or criminal proceeding. Pullman Standard, Inc. v. Abex Corp.,

693 S.W.2d 336, 338(Tenn.1985); Pinney v. Tarpley, 686 S.W.2d 574, 581
(Tenn.Ct.App.1984). Here, the Court cannot construe the language in Paragraph 6.(E) of the
"Note'" and Paragraphs 9 and 14 of the "Deed Of Trust" as enabling Defendant's to collect

attorney fees in any civil or criminal proceeding where such language "does not" (1) provide a

"specific amount to be allowed and paid as attorney fees", (2) provide proof or evidence as to

what would be reasonable, and (3) waives all attorney fees. Bewley v. Vivo, WL
92077*4(Tenn.Ct.App.1997). (Exhibit No.1: Note, pg. 2, Deed Of                               Trust, para. 9, 14).

                                                                    XXIII

  Also, it is the Averment ofthe Plaintiff                       that since litigation is at best uncertain, one should not

be penalized for merely prosecuting a lawsuit, and that the poor might be unjustly discourged

from instituting actions to vindicate their rights if the penalty for bringing a proceeding includes

the fees of their opponent's counseL. Farmer v. Arabian American Oil Co., 379 U.S. 227, at




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235, 85 S.Ct. 411, at 416, 13 L.Ed.2d 248 (1964); id., at 236-239, 85 S.Ct. 417--418


(concurring opinion of Mr. .Justice Goldberg). Also, the time, expense, and difficulties of
proof inherent in litigating the question of what constitutes reasonable attorney's fees would pose

substantial burdens for judicial administration. Oelrichs v. Spain, 15 Wall. 211, 21 L.Ed. 43

(1872).

                                               xxiv
 Again, based upon a plain reading of   the (1) "right to be paid back. . .for all costs and expenses

in enforcing the Note" language in Paragraph 6.(E) of the "Note", (2) "If there is a legal

proceeding that might significantly affect the Lender's interest" and "additional debt of

Borrower" language contained in Paragraphs 9 of the "Deed Of Trust", (3) "if any action or

proceeding, whether civil or criminal is begun" language contained in Paragraph i lofthe same,

as well as (4) the "fees for services performed". . .language contained in Pargraph 14 of the

"Deed Of Trust; it is unquestionable that such was written with respect to any costs, services,

fees, or expenses that Defendant's may incur as a results of defending against any legal actions

initiated on the part of the Plaintiff. Without doubt, such language is an attempt on the part of

Defendant "AFM" to create a liquidated damages clause that results in an unenforceable penalty.

Goggin Truck Line Co., ¡d. at 2. The "Note" and "Deed Of Trust" list four (4) instances

relative to legal actions which triggers the obligation for Plaintiff to pay costs, fees, or expenses

associated with civil or criminal proceedings. A liquidated damage is a sum agreed upon by

contracting paries at the time they enter into their contract, to be paid as compensation for

damages suffered by one pary based upon a certain event. V.L. Nicholson v. Transcon

Investment, 595 S.W.2d 474, 484(Tenn.1980). In the instant case such would be the filing of a

legal action. Because the referenced language makes payment of the legal costs, services, fees, or




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 expenses due as a result of defending against some civil or criminal proceeding, it is clear that

 such was intended merely to penalize for bringing such actions. Goggin Truck Line Co., Ill at

3. IExhibit No.1: Note, pg. 2, and Deed Of                            Trust, para. 9,11,14).

                                                                       XXV

   Again, Plaintiff avers that this Court must follow the "American Rule" with regard to awarding

legal fees. This Court cannot compel him to pay the legal expenses of the Defendant's unless

such fee-shifting is authorized by statute, contract, or some other recognized equitable ground.

Kultura, Inc. v. Southern Leasing Corp., 923 S.W.2d 536,540 (Tenn.1996); Kimbrough v.
                                                                                                                         :c::H.~;'.:':'

Union Planters Nat') Bank, 764 S.W.2d 203, 205 (Tenn.1989). More over, at common law, a

pary had no right to the payment of                      its litigation costs, fees, or expenses. Mooneys v. State, 10

Tenn. (2 Yerg.) 578, 579 (1931); McCormic v. Smith, 668 S.W.2d 304, 306

(Tenn.Ct.App.1984). Thus, a cour's power to determine what items of legal expense wil be
considered costs and whether or not to award them to a litigant depends upon legislative

enactment. Railroad v. Boswell, 104 Tenn. 529, 532, 58 S.W. 117, 118 (1900); Person v.


Fletcher, 582 S.W.2d 765, 767 (Tenn.Ct.App.1979), and Owens v. Stanley, 739 S.W.2d

782(Tenn.Ct.App.1987). There is no statute in this State requiring a pary to a proceeding to pay

the opposing parties litigation costs, fees, or expenses.

                                                                      XXVI

   Additionally, it is the averment of the Plaintiff that the "monetary default provision" contained

in paragraph 6(A) provides compensation for missed payments. Therefore, the (1) immediate

payment provisions in Paragraph 10 ofthe "Note", (2) "No Offset" provision of
                                                                                                     Paragraph 1, (3)

provisions in Paragraph 9 mandating additional debt for legal proceedings, (4) forfeiture of

proceeds from any claim or damages provision in Paragraph 11, and (5) provisions in Paragraph




                                                                         18


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14 for the payment of fees for services perfonned in connection with any default, attorney's fees

and other fees that 'are not' specified in the "Deed Of Trust"; are not intended to be
compensation for a missed or late payment because the "monetay default provision" contained

in paragraph 6(A) of the "Note" completely fulfills that fuction. (Exhibit No.1: Note, pg. 2,


Deed Of       Trust, para. 1,9,11,14).

                                             XXVII

  More specifically, Plaintiff avers that the fees, sums, and amounts, contained in the provisions

referenced above is not reasonable in relation to the payments and interest Plaintiff has already

paid on the "deceptively manufactured" Principle amount. Without question such provisions are

an unenforceable penalty because they are not a reasonable estimation of the foreseeable

damages for the failure to make the monthly payments contained in the "Note". Here, the fees,

sums, and amounts contained therein amounts to a penalty, and wil not be enforced. Beasley v.

Horrell, 864 S. W.2d .
                                                                                                     \'.".

                                             XXVIII

  Plaintiff   avers that on December 30,2003, when he signed the '4Note", Defendant 44AFM" was

without statutory authority to act as a "Mortgage Lender" "Mortgage Loan Broker",
'(Mortgage Loan Servicer", or "Mortgage Loan Originator" in this State pursuant to

T.C.A.§4S-13-103(a), and had not complied with the applicable licensing and registration

requirements under Tennessee law.

                                              XXIX

  More over, it is the averment of the Plaintiff that Defendant" AFM" was not exempt from the

statutory requirement oflicensing and registration pursuant to T.C.A.§4S-13-103(2).




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                                             XXX

  In addition, Plaintiff avers that Defendant "AFM" had not filed an application in writing,

under oath, and in the form prescribed by the Tennessee Commissioner Of Financial
Institutions, containing (1) it's name and the principal business address outside of Tennessee,

and all addresses within Tennessee at which the applicant is conducting or intends to conduct

business; (2) the name and address of each executive officer and each director, the registered

agent for service of process, and each stockholder owning or controllng through voting trust or

other agreement twenty-five percent (25%) or more of the outstanding capital stock of the

corporation; and (3) whether such corpration is a mortgage lender, mortgage loan broker, or


mortgage loan servicer, or any combination thereof, pursuant to T.C.A.§45-13-104(a)(1), (3),

(4).

                                             XXXI

  "AFM" failed to "notifY the Tennessee Commissioner Of Financial Institutions five (5)

days prior to any change in the principle place of it's business" per T.C.A.§45-13-107.


Specifically, on or about February 16,2007, Defendant "AFM" closed the doors to it's original

and second headquarters in Atlanta and Marietta, Georgia due to (1) financial difficulties as a

result of repurchase demands from investors, (2) diminished funding capacity because of

increase in non-performing loans, (3) commenced litigation based on donkeyigned loans that

resulted in early payment defaults, (4) lawsuits from equipment lessors to advertising firm, (5)

accrued advertising bills that far outstripped it's ability to pay. See (Exhibit No.5: Atlanta

Business Chronicle, Internet Article, February 16, 2007). However, since such closing,


Tamara 1. Burch, Co-founder and President of "AFM" is operating a net branch for Admiral




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Lending LLC, doing business as theEquityNetwork.com. See (Exhibit No.4: The Mortgage

Lender Implode-O-Meter News Pick-ups: Imploded: American Freedom Mor...http://ml-

implode.com/implodedllender _ AmericanFreedomMortgage,Inc._ 2007- i -30.html) .However,

Defendant Burch has failed to notify the Commissioner Of Financial Institutions of any

change in "AFM's" principle place of business.

                                                                       XXII


   Even more, the Plaintiff avers that Defendant "AFM" failed to file a written report with the

Commissioner Of Financial Institutions describing the event and it's expected impact on the

activities of said corporation as it relates to the filing of Chapter 7 Bankruptcy in Georgia's

Northern District Court and the Northern District Court of Ilinois. See (Exhibit No.4: The

Mortgage Lender Implode-O-Meter News Pick-ups: Imploded: American Freedom
Mor.. .http://ml-implode.com/imploded _ AmericanFreedomMortgage, Inc._ 2007-1-30.html,

Exhibit No.5: Atlanta Business Chronicle, Internet Article, February 16,2007).

                                                                       XXXIII

   It is the averment of the Plaintiff that Defendant's "CFC" and "BAC" has misrepresented the

true identity of the lender by means of unfair, deceptive, and fraudulent business practices;


thereby charging him excessive interest. Specifically, Plaintiff avers that Defendant's "CFC"

and "BAC" did nothing to provide the mortgage loan contained in this case, and therefore,

incurred no expenses, losses, or risks associated with the origination of the loan. In fact, "AFM"

provided the funds necessary to make the loans. Thus, Defendant's "CFC" and "BAC" are not

"lenders" as outlned in T.C.A.§47-14-102(9); and is not entitled to receive "compensation for

the use, detention, or forbearance to collect money over a period of            time." More specifically, it is

the averment of the Plaintiff that the monthly payments (interest or compensation) that




                                                                         21


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Defendant's 44CFC" and "BAC" received from him between January 2005 to March 2009, was

excessive. Terry v. Community Bank of      Northern Virginia, 255 F.Supp.2d 823.


                                             XXXiV

  Also, it is the averment of the Plaintiff that he "did not" execute or deliver a deed of trust

conveying or granting Defendant's '4CFC" and 44BAC" interest in the property indicated and

listed in the "Note" and "Deed Of Trust" in this case. Specifically, there is no written
instrument recorded (Deed of Trust) in the Register of Deeds Offce for Montgomery County,

Tennessee; where the property is located, evidencing or indicating a conveyance or the intention

thereof to convey the propert located at 430 Glenn Street, Clarksvile, Tennessee 37040 to


Defendant's "CFC" and "BAC". More specifically, he never conveyed interest in the property

in question; and as a result he retains full ownership of the property at the drafting and filing of

this Complaint. In sum, if a conveyance "did not" occur as it relates to Defendant's 4'CFC" and
4'BAC", Plaintiff has rights superior to those of such defendants. In re Gee, 166 B.R. 314, 315-

317(Bankr.M.D.Tenn.1993); In re Tate, WL 339125S0(Bankr.E.D.Tenn.2000); see also 9

Tennessee Jurisprudence, Deed 7(1993).

                                              XXXV

  More over, it is the averment of the Plaintiff that land conveyances generally occurs in a two

step process (execution of a land sale contract followed by execution and delivery of a deed)

which has not occurred in the instant case as it relates to Defendant's 4'CFC" and "BAC". In re

Gee, 166 B.R. 317; In re Tate, WL 33912550*4; In re Cohee, 178 B.R.

1S4,159(Bankr.M.D.Tenn.1995); ~ also 9 Tennessee Jurisprudence, Deed 7(1993).




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                                                                     XXXVI

   Plaintiff avers that neither Defendant's "CFC" or "BAC" has priority or interest in the

property listed in the "Note" and "Deed Of                           Trust" in this case. Specifically, there is no (1) deed

for absolute conveyance of any lands, tenements or hereditaments, or estate; (2) instruments of

writing for the absolute conveyance of personal property; (3) deed of conveyance, with


certificate of probate, certified by the register of the county (Montgomery County, Tennessee)

where same has been first registered; (4) mortgages and deeds of trust of either real or personal

property; (5) instruments in writing transferring or conveying any right of improvement,

occupancy or preemption; (6) Certified copies of decrees divesting the title of land out of one

person and vesting it in another; or (7) any instrument that provides for any party to agree to tae

any action regarding any interest in real property, or not to take such action regarding any

interest in real property, including, but not limited to, any agreement to or negative agreement to

mortgage, pledge, assign, hypothecate, alienate, subdivide, encumber, sell, transfer, or otherwise

affect the real property or any par thereof; as it relates to Plaintiff, Defendant's "CFC" and

"BAC", and the property situated at 430 Glenn Street, Clarksville, Tennessee 3 7040.

Washington Mut. Bank v. N.K.T. Land Acquisitions Inc., WL 2925299(Tenn.Ct.App.

2008).

                                                                     XXXVII

   Plaintiff avers that where instruments listed in T.C.A.§66-24-101 goes unrecorded, then it

"shall be null and void as to existing or subsequent creditors of,                         or bona fide purchasers." See

T.C.A.§66-26-103. More specifically, where Defendant's "CFC" and "BAC" have failed to

record any of the written instruments mentioned in T.C.A.§66-24-101, as it relates to the




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   property in question, they have no interest or priority in said. Washington Mut. Bank v.

   N.K.T. Land Acquisitions Inc. Id *5.

                                               XXXVIII

     Plaintiff avers that he has a "right to rely" on the absence of an entry in the records maintained

   by the Register Of Deeds for Montgomery County, Tennessee, relative to those documents

   (Deed of Trust) listed in T.C.A.§66-24-1Oi. Washington Mut. Bank v. N.K.T. Land
   Acquisitions Inc. Id *5.

                                                 XXiX

     More over, Plaintiff avers that since this action was fied prior to Defendant's "CFC" and

   "BAC" obtained and filed a Deed Of Trust in the Register Of Deeds for Montgomery

   County, Tennessee, evidencing or indicating a conveyance or intention thereof to convey the

   property located at 430 Glenn Street, Clarksvile, Tennessee 37040, his legal interest in side

   remains undisturbed. ". In re Gee, 166 B.R. 318.

                                                  XXX

     Plaintiff also avers that Defendant's "BAC" and "CFC" had failed to credit and record all

   monthly installment payments made to them during the years of 2006 and 2007. More

   specifically, and as stated supra. at 2, on March 9, 2009, Defendant's "BAC" and "CFC" only

   provided him with the Transaction History for 2005 and 2008, there is no payment history for

   the years of 2006 and 2007. There is no accounting records reflecting or disclosing monthly

   payments made for the years of 2006 and 2007. Thus, the accounting records and/or transaction

   history relative to Account No. 042264364 "does not" reflect or disclose that such monthly

   payments were accredited to his mortgage loan. More specifically, it is the furher averment of

   the Plaintiff that Defendants "BAC" and "CFC"has failed to properly maintain his loan



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account, which has resulted in an inaccurate payment and transaction history relative to Account

No. 042264364. See (Exhibit No.2: Transaction History For Account No. 042264364, 2005


& 2008, Date Prepared 01103106 & 01115/09).


 WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that this

Honorable Court:

1. File this Complaint without requiring Plaintiff or Next Friend to give cost bond, and that the


   Plaintiff by and through his Next Friend be allowed to prosecute this suit in forma pauperis

   per T.C.A.§§20-12-127, §20-12-129.

2. Issue process, and that it be served upon "all named defendants", requiring said to appear and

   answer this Complaint.

3. Adjudge and decree that "all named defendants" have engaged in the aforementioned unfair

   and deceptive acts and practices which violate T.C.A.§47-18-104.

4. Pennanently enjoin "all named defendants", their direct and indirect subsidiares, affiiates,

   officers, directors, employees, agents, related entities, successors, and assigns, and all other

   persons and entities corporate or otherwise in active concert or paricipation with any of

   them, pursuant to T.R.Civ.P., Rule 65.03, from engaging in the aforementioned unfair or

   deceptive acts or practices which violate the Tennessee Consumer Protection Act of 1977,

   and that such orders and inj unction be issued without bond.

5. Detennine, pursuant to T.C.A.§47-18-109(a)(4), whether treble damages should be awarded,


   by considering (1) the competence of the Plaintiff at 79 years old, (2) the nature of the

   deception or coercion practiced upon the Plaintiff at 79 years old, and (3) the damage to the

   Plaintiff.




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6. Issue a Declaratory Judgment, pursuant to T.C.A.§47-18-109(b), declaring that the act or

   practice alleged against Defendants "AFM", "BAC" and "CFC" violates the provisions of

   the Tennessee Consumer Protection Act of 1977.

7. Award three (3) times the actual damages (the amount of all installment payment made from

   February 1, 2005 to March of 2009) sustained by the Plaintiff pursuant to T.C.A.§47-18-

   109(a)(3).

8. Award treble damages to the Plaintiff in the amount of $84,622.08, pursuant to T.C.A.§47-

   18-1   09   (a)(4).

9. Make such orders or render such judgments as may be necessary to restore to the Plaintiff

   who has suffered ascertainable loss by reason of the use or employment of unlawful method,

   act, or practice, any money or property, real, personal, or mixed, or any other aricle,

   commodity, or thing of value wherever situated, which has been acquired by means of any

   act or practice declared to be, pursuant to T.C.A.§47-18-109(a)(1).

10. Consider as prima facie evidence, pursuant to T.C.A.§47-18-109(d), the injunction and

   Agreed Final Judgement made pursuant to T.C.A.§47-18-108, and assurance of volunta

   compliance entered into pursuant to T.C.A.§47-18-107, which has not been complied with in

   the case of State of Tennessee, ex rel. Robert E. Cooper Jr., Attorney General and

   Reporter v. Countryide Financial Corporation, a Delaware corparation, Countrywide


   Home Loans, Inc., a New York corporation; and Full Spectrum Lending Inc., a
   California corporation, Complaint For Permanent Injunction And Other Relief, Case

   No. 09C202, Circuit Court of Davidson County(Jan.22, 2009) (copies of complaint and

   settlement documents available at http://state,tn.us/attorney
   generall cases/countryide/ countryide.html.).



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                                                          '~"'~960 State Route 212
                                                               Tiptonvile, Tennessee 38079




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STATE OF TENNESSEE )
COUNTY OF LAKE )
 PERSONALLY APPEARD                          BEFORE ME, LaBryant King, the undersigned, a Notary


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Public, in and for said County and State, Lake, whose identity I have personally verified, and

who acknowledge that he executed the,..'teeQlii'~ument for the purpose herem stated.
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Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 36 of 51 PageID #: 42
           IN THE CIRCUIT COURT FOR MONTGOMERY COUNTY, TENNESSÈE
                          NINETEENTH JUDICIAL DISTRICT
                                AT CLARKSVILLE
John H. King Jr., by Next Friend
LaBryant King,


                                       Plaintiff,

VS.                                                                 CASE        NO.

Countrywide Financial Corporation,
Countrywide Home Loans, Bank of America,
American Freedom Mortgage, Tamra
Burch, and American Title Company, Inc.,

                                      Defendants.


                                        MOTION FOR RESTRAINING ORDER

      COMES NOW, the Plaintiff, John H. King Jr., by and through LaBryant King, as Next

Friend, pursuant to T.R.Civ.P., Rule 65.03, and respectfully moves this Honorable Court to

issue a restraining order permanently restraining and enjoining the Defendants, their direct and

indirect subsidiaries, affliates, offcers, directors, agents, related entities, successors, servants,


employees, and all other persons and entities corporate or otherwise in active concert and

participation with them from (1) enforcing the void and ilegal "Note" and "Deed Of Trust"

referenced in the complaint, (2) demanding monthly payments for the usurious interest, rates,

charges, fees and costs contained in the "Note" and "Deed Of                          Trust", (3) not disclosing the true


nature of financing as it relates to any usurious interest, rates, charges, fees and costs, (4) not

accrediting the monthly payments he's made to his loan account and properly maintaining said,

(5) initiating foreclosure proceedings against the property named in the "Note" and "Deed Of

Trust", and (6) foreclosing on the property named in the "Note" and "Deed Of                           Trust".
   In support of this motion the Plaintiff states:




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1. That on January 8, 2010, he fied a Compliant with this Cour by placing said in the

       institutional mailing system of                Nortwest Correctional Complex.

2. That Defendant's have been served with a copy of                                           the Complaint, summons and this motion.

3. That Defendant's intend to require the immediate payment of                                                 the usurious and "deceptively

       manufactured" amount owed on the mortgage, initate the "acceleration" provision

       contained in the "Note" and "Deed Of Trust", and/or foreclose on the property referenced

       therein.

4. That immediate and irreparable injury, loss, and damage wil result to the Plaintiff before

       the Defendant's or their attomey(s) can be notified or heard in opposition to this motion.

  WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that this

Honorable Court issue a restraining order in the instant case.

                     THIS IS THE FIRST APPLICATION FOR EXTRAORDINARY
                                                                       RELIEF

                                                                                              R.~pectfully súbJ.itted; ""_....,,' .
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                                                                                          (LaiÌ3ryant King, a§Nf.Ú~l.¿nd---)
                                                                                          \.._øf Plaintiff,
                                                                                             N.W.C.X.-Main
                                                                                              960 State Route 212
                                                                                              Tiptonvile, Tn. 38079




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 /iCol!ntryde'
               HOME LOANS
 P O. Bo, 10229
 Van Nuys. eii 914100229

                                                                                                                  Notice Date: March 9, 2009
  i.,),:i,¡(,;) .,.,J.,'('l n'. 6ii~1 .;; (ii-,~ii,í,i::
                                                                                                                 Account No,: 042264364

                                                                                                                 Property Address:
                                                                                                                 430 Glenn Street
John King
                                                                                                                 Clarksville, TN 37040
430 Glenn SI
Clarksville TN 37040



YOUR REQUEsT HAS BEEN PROCESSED
                                                                                                                                                     Exhibit No.1: Note and
Thank you for your recent contact regarding your request to provide loan document(s).
                                                                                                                                                     Deed Of Trus t, Loan No.
                                                                                                                                                     031112054, 12/31/03
We are pleased to inform you this request has been completed.

The following documents have been forwarded to you separately: Notellnstallment Contract

THANK YOU FOR YOUR BUSINESS

Thank you for the opportunity to be of assistance.
If you need additional information or assistance, you can contact us online any time. Simply log
on to yo:.r account at https://customers.countrywide.com and Select 'Message Center.' With
your online account, you wil also have access to many other convenient serviCeS, such as:
updating your account informtion, viewing current and hisioiicalmonthly statements, enrolling
in an automatic payment service, and much more. Or, if you prefer, you can call one of our
Customer Servi.ce Representatives directly at í -800"669-6607,




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                                                           Plê8se write you( account number on all corres ponder-ceo      SRMCOIiM 707~ 02f13f200ï

              Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 39 of 51 PageID #: 45
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                                    .                                                .
C-'d;:.~lmTRUE )
                                                       NOTE                  Loan Number: 031112054


                                                             !"lZilIETTA                                GEORGIA
    DECEyffER 311 2003                                                                                   (StateJ
                                                                   (City)
               ¡Daie)



                  430 GLENN STREET, CLiiSVILLE, TENNESSEE 37040
                                                    tproperi AddressJ


 1. BORROWER'S PROMlSE TO PAY
       In return for a loan that I have received, I promise to pay U.S. $ 56 ¡ 250 . 00 (ths amout is
 ciled "P.diieipal"), plus interest, to the order of the Lender. The Lender is AMERICA FREEDOM
 MORTGAGE INC, A GEORGIA CORPORATION (CFL\DRE # 16339)
 I wil make al payments under th Note in the foin of ca, chek or money order.
      I undersr.ad that the Lender mal' trfer th Note. The Leder or anyone who taes th Note by transfer and
 who is entitled to receive payments under this Note is caled the 'Note Holder. '


  2.~ i NTEREST
       Interest wil be charged on unpaid pricipal unti the fii amout of Principal bas bee paid. I wil pay inest

  at a yealy rate of 6 . 5 00 %.
       The interest rate requied by th Section. 2 is the rate I wil pay both before and afr any derallt descrbed in
  Section 6(B) of th Note,

  3. PAYMENTS
       (A) Time and Place of Payments
       I wil pay pricipal and interest by mag a payment every month.
       I wi make my monthy paymnt on the 1st dii of each month beging on FEBRUARY 1
  2 0 04 . I wil make these payments ever!' month unti I have paid al of the pricipal an imerest and any other
                                            uner ths Note. Each monthypayreniwi be
                                                                                           applied as of its scheduled
  charges descrbed below that I may owe

  due date and wil be applied to ,iterest before Pricipal. If, on JANtJJl.RY 1, 2 034 , ¡sti owe
  amounts under ths Note, I wi pay those amouns in full on .that date, whi is caed the "Maturity ,Daie. i
       I wil make my monthy payments at 2211 HEW MAKET PAR:vlAY 1 SUITE 13 0 i
       MAIETTA, GEORGIA 30067
                                                                  or at adierent place if requird by the Note Holder.

        (B) Amount of Monthy Payml'Jlt~
        My monthiy-aymentVlil1be in tie amount of       U.S. $ 355.54

  4. BORROWER'S RIGHT TO PREPAY
        I have the right to make payments of Pricipal at any tie before they are
                                                                                     due, A payment of Pricipal only

  is lmown    as a "Prepayment. II 'Wen I make a Prepayment, I wil tell the Note Hold,er in writig that I am doing so.

   lmay nol   designate a payment as a Prepayment if I have not made al themoiitby payments due under the Note.

      . I may make a full Prepayment or paral Prepayments without paying a Prepayment charge. The Note Holder

   wil use my Prepayments to reduce the amourt of Pricipal that lowe under th Note. However, the Note Holder
   may apply my  'Prepayment to the accred anò unpaíd interest on the Prepayment amount, before applyg my
   Prepayment to reduce the Principal amount of the Note. If I make a partial Prepayment,. ther wi be no changes in
   the. due date or in fue amount of my monthly payment unless the Note Holder agree in writig to those changes.

   5. LOAN CHARGES
         If a law, which applies to this loan and which sets maxum loan ciarges, :i iíaly interpreted so th ùie
   inierest or other loan charges collected or to be collected in collection with th Joan e;icee the permtled limts,
   then: (a) any such loan cbarge shal be reduced by 1h~ amount necessar to reduce the charge to the permitted limt;


   Borrower '1iiti1s:

  'MULTISTAiJ-FXED RATE NOTE-Slngie Family
                                                                                           DoMagjc~ õ(YJ.19.1362
                                                                                                     www.docmaglo.cDm
   Fannie Mae/Freddie Mac UN1FORM INSTRUMENT
   Forin 3200 1101                                       Page 1 oí 3

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                                                             ,..",.".".",,,,,,,,,, 51 1PageID #: 46
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                                                                                                        Account No . 042264364




                                 .                                                  .i,
and (0) any sums aleady collecte from me which exceeded permtted Emits wil be refuded to me, The Note

Holder may choose io make this refud by reôucing th Pricipal lowe under thisN ate or bymakg a direcrpayment
to me. If a refud reduces Pricipal, the reducton wil be treated as a partial Prepayment.



6. BORROWER'S FAILURE TO PAY AS REQUIRED
     (A) Late Charge for Overdue Payments
     If the Note Holder has not received the full amount of any monthy payment by the end of 15
calendar days after the da it is due, I wil pay a late charge to the Note Holder. The amount of the charge wil be



     (B) Default .
          5 . 0 0 0 % of my overdue payment of pricipal and interest. r wil pay JIús late charge prompUy but only

once on each late payment.


     Ii I do Dot pay the fu amount of each monthy payment on lhe date it is due, I wil be in default.
     (C) Notice of Default
     1£ I am in defa1Ùt, the Note Holder may    send me a wrtten notice telling me that if I do not pay the overdue
amount by a cei.a date, the Nete Holder    may require me to p.ay imedtely the fullamounr oIPricipai which has

not ben paid and all the interest tht J owe on tht amaun¡. That date must be at least 30 days ati.r the date all which
lhe notice is maied to me or delivered by other mean.
     (D) No Waiver By Note Holder
     Even if, at a tie when 1 am il default, the Note Holder does not requie nie to pay imdiately in fiJ as
desbed above, the Note Holder wil sti have the right tçi do so if I am in default at a later tie.
     (E) . Payment of Note Holder's Cost and Ei:peies
     Ji the Note Holder has reuird me to pay mediately in fu as desnoed above, the Note Holder wil have
                                                                                                              by
the right tt be paid backby me for al ofiiseosts and el.,'peises in enorcing this Note to the extellnot prohibited

applicable law. Tnose expenses include, for examle, reasonable attomeys r fee.


7 ,GIVING OF NOTICES
     Unless applicable law requires a óìferent method, any iiotièe that must be given to me uniier ths Note wil be
given by óèliverig it or by maig it by fit class mai to me at the Propert Address above or at a diferent adliess
if I give the Note Holder a noôce oî my different addres. .
       Any notice that nmst be given to the Note Holder under this Note wil be given by deL:Verig ìtor by maig

                                                           in
it by iL.t class maìio the Note Holder at the adóress stated     Secon 3(A) above or at a dierent address ir I am
given a nouce of ilar diferent address,



8. OBLIGATIONS OF PERSONS UNDERTH!S NOTE
      Ifmore than one person sjgns th Note, eacb person is   fully ard persoiialy obEgaied to keep al of 1Ie promises
made in this Note, incJudiiig the promise to pay the fu amount owed. Any person who is a guararitOt. surety or
endorser of th Note is also obligated to do these thgs. Any person who takes'over these 'obligations. incluc!g-
                                                                                            theofpromises made in
the obligations of a guarantor, surety or endorser of this Note, is also obiigated to keep al

th Note. The Note Röldermay emorce its righTS under this Note agilst each person individualy or agait             al   of
us together.   Ths méans that anyone of us may be requed to pay al of the amounts owed under ths Note.

9. WAIVERS
      I and any other person who has obligatìons nnQer fuis Note waive the rights of Presenmient and Notice of
Dishonor. "Presentment" means th right to requir the Note Holder to demand payment of amounts due. "Notice
of Dishonor" means the right to require Uie Note Holder to give notice to other persons that amounts due have nor
been paid.


10. UN1FORM SECURED NOTE
      This Note is a unorm Ínstrent witb!ited variations in some jurisdictions. il addition to the protectiom
gien to the Note Holder under    this Note, a Mongage, Deed of Trost, or Security Deed (the" Security Intrment",
dated the same date as Ib Note, protects the Note Holder from possible losses which might result if I do not keep


BorroWCí intials:

MULTIST flTE FIXED RATE NOTE..Sinale Family                                                £kcMagic(3Il 8O(JS4M3S2
Fannie MaelFreddie Mac UNlí-flMINŠTRUMENT                                                            www.docmagic.com
Form 3200 1IOi                                         Page 2 of 3

    (\ iCase
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                                                                                 '.1'''' i'~j! . ,).,1',1'.' 1 ::.,' ~"_~ 5 : .. "
                                                                                                             rClyt:.. VI "+
                                                                                                             Account No.: 042264364




/                                    .                                                 l-'

    the promises whicl I make in this Note. That SecuÌìy Instnent describes how and under what conditions I may
    be requied to make ímdiare payment in full of al amounts I owe'uuder ii Note. Some ofinose conditions are
    described as follows:

              If al or any par of the Propert or any Interest in the Propei1)' is sold or transferrd (or if Borrower
         is not a natual person and a beneficial interest il Borrower is sold or transferred) withut Lender's prior
                                                                                                      ths Securty
         writen consent, Lender may require imediate payment in fu of al sums secured by

         Instrment. However, this op!Íon shal not be exercised by Lender if sucb exercise is prohibited by
         Applicable Law. .
              If Lender exercises this option, lender shal give Borrower notice of acceleration. roe notice shal
         provide a period of nor less than 30 days from the date the nonce is given il accordance with Section 15
         within which Borrower must pay al sums secured by this Security Instment. If Borrower fais to pay

         iIese sums prior to the expirtion of Ibis period, Lender may invoke any remedies permtted by this
         Security Instrent without furter notice or demand. 011 Borrwer.



    WITNES TH HAND(S) AN'SEA(S) OF TH UNERSIGNED.




    ¡k !'i, K~Cv~"J
        li H KING JR J ¡ .Borrower
                                                                                                                       (Seal)
                                                                                                                 -Borrower




                                                                                                                        (Sea)
                                                      (Seal)
                                                                                                                  -Borrower
                                                 .Borrower




                                                                                                                         (Seal)
                                                      (Sea)
                                                                                                                   .Borrowei
                                                  -BorrGwer




                                                                                                      . (Sign Original OniyJ




                                                                                               DoMagic~ 80049.1352
       MULTIS i ATE FIXED RATE NOTE..Single Family                                                        www.docmügic.com
       Fannie Mae/Freddie Moc UNIFORM INSTRLJMËNT
       Form3200 1/01                                           Page 3 of 3

                                                                                                                         ,.;"(,L.I...:-,-IIII-.',,il)
                Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 42 of 51 PageID #: 48
         "('

       RECORD & RETURN TO:
       'Aieric~mTitleCompany. Inc.

   v
       925 Industrial Drive
       Old Hickory, TN 37136                                                                             JOY:e B. S.~yer, Re9ist.er
                                                                                                       Mont.90aery Co~r,ty Tannessee
       This Instrment Was Prepared By:                                                          Rec ij: 71285 Instru~Jent 601369
        Aærican Freedom Mortgage. Inc.                                                          Rec'd: 70.00 ljB~:: 7 rs 949
                                                                                                State: 62.33
        2211 Hew Market Parkway, Ste. 130                                                       Clerk: 1.00                   Recorded
        Marietta. GA 30067                                                                      ED~: 2.00              im/2004 .;t g:06 .ìl
                                                                                                lohl: 13.33              . in Voluiie
                                                                                                                        mp,ms 23H-232
       After Recording Rerm To:
       AMERICA FREEDOM MORTGAGE INC
       2211 NEW MAKET PARKWAY, SUITE 130
       MAIETTA. GEORGIA 30067
       Loan Number: 031112054


                                             15pace Above Tnls Line Fer Recording Datal


                                                  DEED OF TRUST
        Maximum pricipal indebteness ín Tenessee for recording tax puroses is ,$ 56 , 25 0 . 00


        DEFINITIONS

        Words used in multiple seciions of this document are defied beiow and olhcr words are defmed in Sections 3, il,
        13. 18,20 an 21. Certin rules regarding ihe usage of words used in this document ar also provided in Sectin i 6.
                                                                                                                        , together
        (A) "Seiurlty Insment" means ilis document. which is dated DECEMBER 31, 2003
        wilh al Riders 10 this docuinent.
        (B) "Borrower" is JOHN H KING JR , UNMRRIED



        Borrower is lhe trtor under ilis Secrity 100tnent.
        (e) "Lender" is AMERICAN FREEDOM MORTGAGE INC

        Lender is a GEORGIA CORPORATION organed
        and existig under the laws of GEORGIA
        Lender'saddressis 2211 NEW MAKET PARKWAY, SUITE 130, MAIETTA,
        GEORGIA 30067
        Lender is the beneficia under ilis Secunty insuent.
        (D) ;'Trustee" is AMERICA TITLE COMPAN i INC
        125 GLACY ST, GOODLETTSVILLE, TENNESSEE 37072
        a residem of ~avidson Couilt5ßessee.
        (E) "Note" inean \he proinsory note signed by Borrower and dated DECEMBER 31

         AN 00/100 Dollars (U.S. $ 56,250.00 )
        TheNoiesiatesilatBorrowerowesLendèr FIFTY-SIX THOUSAN TWO HUNDRED FIFTY
        plus interest. Borrwer has promised to pay this debt ín regular Periodic PaymenlS and to pay t1e debt in full not later
         ilm JANUARY 1, 2034
         The maximum pricipal indebtedness for Tennessee recording ta purposes is $ 56, 25 0 . 00
         (F "Propert" means t1e propert fuai is described below under the lieading "Tranfer ofRighlS in the Propert."
         (G) "Loan" means the debt evidenced by the Note, plus interest. any prepayment charges and laie chàrges due under
         the Note, and all sums due under. this Secunty Insrnment, plus interest. .
          Borrower Intias:
                                                                                                   Do~ lOO.64J.~3'
         .Foim 3043 1101 Pege 1 or 13
         TENNõSSEE..Singlø Famlly..Fenni. Mee/Freddie Mee UNIFORM INSTRUMENT
                                                                                                                       '.,.,,: '9 2314
                                                                                                        lNww.d~F'JlIS/C, 01 W h1 e




        'i ~ K                                                                      11111111~i11~i111 ii 1I1111l n 1111111111111111111111111 ILL III




Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 43 of 51 PageID #: 49
         (Il~ "Riders" mean all Riders 10 this Security lnsirument thai are executed by Borrower. The following Riders are
         to be execuied by Borrower (check box as applicable):

                                                    o Condomiium Rider                                o Second Home Rider
             o Adjustable Rate Rider
                                                    o Planed Unit Development Rider                   lU Other(s~ (specify)
             o Balloon Rider
                                                    o Biweekly Payment Rider
                                                                                                    Legal Description
             o 1- Famy Rider

         (I) "Applicale Law" means all controlling applicable federal, state and local statutes, regulatins, ordinances and
         administrative rilles and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
         opinions,
         (J) "Community Association Dues, Fee, and Assessments" means all dues, fees, assessments and other charges
         thaI are imposed on Borrower or !he Propert by a condominium association, homeowners association or similar
         organiztion.
         (K) "Elecronic Funds Transfer" means any transfer of funds, other !han a transactin originted by check, draft,
         or similar paper instrment, which is initiaied through an electronic iermnal, telephonic instrent, computer, or
         magnetic tape so as to order, intrct; or authori a (mancial intitution 10 debit or credit an account. Such ierm
         includes, but is not liited to, point-of-sale transfers, automatcd teller machine transactions, transfers initiated by
         telephone, wire iriifers, and automated clearinghouse transfers.
         (L) "&crow Items" means those items that are described in Section 3.
         (M "Micellaneous Procee" means any compensation, settement, awad of damages, or proceeds paid by any
         third par (other \han insurance proceeds paid under the coverages described in Section 5) for: (il damage to, or
         desmiction of, the Propeny; (ii) condemnation or other tag of all or any par of the Propert; (iü) conveyance in
                                                                                                                      the Propert,
         lieu of condemnation; or (iv) misrepreséniations of, or omissions as to, the value andlorcondition of
         (N) "Mortage lilurance" mean insurance protecting Leder against the nonpayment of, or default on, the Loan.
         (0) "Perioic Payment" means the regularly schcduled amount due for (il pricipal and interest under the Note,
         plus (ü) any Ilounts under Section 3 of this Security Insuuent.
         (P) "RESPA" means the Real Estate Setlemeiú Procedures Act (12 U .S.C. §2601 et seq.) and its implementing
         regulation, Regulation X (24 C.F.R. Part 3500), as they might be amnded from nie to rime, or any additional or
         successor legislation or regulation that governs !he sae subject maner. As used in \hs Seurity Instrment,
         "RESPA" refers to all requirements and iestrictions that are imposed in regard to a "federally related mortgage loan"
         even if \he Loan dos not quaify as a "federally relaied mortgage Inan" under RESPA.
         (Q) "Successor in Intees of Borrower" means any par \hat has take!! title to the Propert, whethr or not that
         par has assumed Boriower's obligations under the Note and/or 1lis Seciirty Instrument.

         TRANSFER OF RIGHTS IN THE PROPERTY

         This Secrity Intrent secures 10 Lender: (i) the repayment of the Loan, and al renewals, extensions and
         modifications of the Noie; and (ü) the pérfonnance of Borrower's coyenlllS and agreements under this Security
         Instrment an the Note. For tls puise, Borrwer irevocably grants and' conveys \0 Trustee, in trst, with power
         of sale, !he following described.propert located in the
                         COUNTY of MONTGOMERY
                         (Typ. orR.cording Jursò.,tinl (Nii. or Reco.ding Jursdictionl
          SEE LE DE9æICN ATl HE AN MAE A PAI HEP' AS EXIT "A".
          A.P.N. #: 66-E-G




          Borrower Intils:
          TENNESSEE..Singla Famlly..Fannie Meolfroddie Moe UNIFORM INSTRUMENT
                                                                                                     Do~ BOCt'4,.r361
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                                                             ,
                                                      Derivaiion CJmise

           The instrment constitming the source of the Borrower's inierest in ihe foregoing described propert was
           a     recorded
           in the Regisier's Offce of MONTGOMERY County. Tennessee.
      which currently has the address of 430 GLENN STREET
                                                                                         ¡SIr.I)


       CLAKSVILLE                                        ,Tennessee 37040                              ("Propert Address'):
                                                                                         (Zip Code!
                      (City)


           TO HA VB AND TO HOLD, the aforedescribe property. together witl al the hereditaienis and appurtenances
      thereunto belonging to. or in anywise appeiig, unto the Tru.iiee, its successors in trst and assigns, in fee simple
      forever.

           TOGETHER WIH al t1e improvements now or hereaftr ereced on the propert, and al easements,
      appunenances, and fixtures now or bereafter a par of the propert. All replacements and additins shall also be
      covered by this Securiry Instrument. All the
                                               of    foregoing is referred to in this Security Insmieni as the .. Propert, '

           BORROWER COVENANTS that Borrower is lawfully seised of uie estate hereby conveyed an has the right
      to grant and convey the Propert and that uie Property is unencumbered. except for encumbrances of reord.
      Borrower warants an wil defend generaly the title to the Propert agaist al clai and demands, subject to any
      encumbrances of record,

                                                                               nana us ai non-uniform covenants with
           THIS SECURITY INSTRUMENT combines uniform covenants for
      limited varlations by jurisdiction to constitute a uniform seurity instrment coverig real propert.

            UNIFORM COVENANTS. Borrower and Leder covenant and agree as follows:
           1. Payment of Prncipal, Interest, Escrow Item, Prepayment Charges, and Late Charges. Borrwer
      sball pay wben due lhe principal of, and inierest on, lhe debt evidenced by the NOie an any prepayment chages and
      laie charges due under the Note. Borrower shal iùo pay fuds for Escrow Items pursual to Section 3, Payments
      due under the Noie and this Security Inineni shal be made in U.S. currency. However, if any check or other
      instrmeni received by Lender as payment under the Note or this Security Instrent is returned 10 Lender unpaid,
      Lender may requie that any or all subsequent payments due under the Note and uiis Securiry lnstnment be made in
      one or more of th following folI,.as selected by Lender: (a) cash: (b) money order; (c) certified check, ban check,
      iieasurer' 5 check or cashier's check, provided any sucb check is drawn upon an institution whose deposits are insured
      by a federal agency. instimentality, or entity; or (d) Electronic Funds Transfer.
            Payments are deemed received by Lender when received at the location designatd in the Note or at sucb other
      location as may be designated by Lender in acordance with the notice provisions in Section 15. Lender may relUrn
      any payment or paral payment if the payment or parial paymenis are inffcient to bring the Lo curnt. Lender
       may accept any payment or paial payment insufficient to bring the Loan curent, without waiver of any rigtits
       bereunder or prejudice 10 its rights to refuse sucb payment or parial payments in lbe future, but Lender is not
       obligated to apply such payments at the time sucb payments are accepted. If eacbPeriodic Payment is applied as of
     . iis scheduled due date, then Leder need not pay interest on unaplied fund. Lender may hold such unapplíed funds
       uniil Borrower maks payment to brig the Loan ciirreni. If Borrower doe not do ~ within' a reasonable period of
       tíme, Lender shall either apply such funds or return them to Borrower. If noi applied earlier, such funds will be
       applied 10 the outstanding pricipal balance under the Note inediately prior to forelosure. No offset or clai
       which Borrower might have now or in the futue against Lender sbal relieve Borrower from makg payments due
       under the Note and this Security lnsirment or performing the covenants and agreements secured by U1is Securiiy
       lnsirmeni.

       Borrower Initial,:
                                                                                                   DoMøøk;~ '00-649.JJ62
      . Form 3043 1101 Pogo 3 of 13
       TENNESSEE--Slngl. Fømlly..Fannlo MaolFraddle Mac UNIFORM INSTRUMENr                                  www.docm.giç.cDm



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                    2. Application of Piiymeii~ or Proceed~. Excepi as otherwis described in this Section 2, all payments
                                                                                 priority: (a) interest due under ihe Noie;
             accepied and applied by Lender shall be applied lii the following order of
             (b) principal due under the Note; (c) amounts due under Section 3. Such payments shaJl be applied to each Periodic
             Payment in ihe order in which it became due. Any remaining amounts shall be applied firsiio late charges. second
             10 any oiher amounis due under this Security lnsiniment, and then to reduce the principal balance of lIe Note,
                   If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
             amount 10 pay any late charge due, the paymeni may be applied to ihe delinquent payment and the lare charge. IF
             more than one Periodic Payment is outstading, Lender may apply any payment receive. from Borrower 10 the
             repayment ofihe Periodic Payments if, and to the extenithai, eachpaymeni can be paid in full. To the extent thaI
             any excess exists after the paymeni is applied to the full payment of one or more Periodic Payments, such excess may
             be applied to iiy laie charges due. Voluntar prepayments shal be applied first 10 any prepaymeni charges and then
             as described in Ule N oie,
                    Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under Ule Note
             shall not extend or postpneihe due daie, or change l!e amount. of the Periodic Payments.
                    3. Funds fer Escrow Items. Borrower shall pay 10 Leoder on Ule day Periodic Payments are due under the
             Noie, until the Note is paid in full, a swn (the 'Punds') 10 provide for payment of amounts due for: (a) taxes and
             assessments iid otler items which can anain priority over Ulis Security Insrrmenl as a lien or encumbrance on the
             Propert; (h) leasehold payments or ground renlS on the Property, if any; (c) premiums for any and al insurance
             required bY Lender under Secion 5: and (d) Mortgage Jirance premium, if any, or any sums payable by Borrower
             to Leoder in lieu oftle payment of Mortgage Insurance premiwns in accordance witl l!e provisions of Secñon 10.
             These iiems are called "E.~crow Iiems." At origination or al any tie during the term of the Loan, Lender may requie
             thai Comiunity Association Dues, Pees. and Assessments, Ü any, be escrowed by Borrower, and such dues, fees and
             assessmenlS shall be an EscroW Item. l:orrower shall promptly furnh to Lender all notices of amounts to be paid
             under this Section. Borrower shall pay Lender the Funds for Escrw Items uness Lender waives Borrower's
             obligation to pay me Funds for any or al Escrow Items. Leder may waive Borrower's obligation to pay to Lender
                                                                                                              such  waiver,'
                                                                                          in wrtig. In me event of
             Funds for any or alEscrow Items at any iime. Any such waiverrny only be
             Borrower shal pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
             Funds has been waived by Lender and, if Lender requires, shal fumish 10 Leder receipts evidencing such payment
             within such tie period as Lender may require. Borrower's obligation to make such payments an to provide receipts
             shal for all purses be deemed 10 be a covenat and agreement contaed in this Serity Instrnt, as the phrase
              . covenanl and agreement" is used in Sectn 9. If Borrwer is obligate to pay Escrow Items directly. pursuant 10
             a waiver, and Borrower fals 10 pay the amunt due for an Escrow Item, Lender may exercise its rights under Seciion
             9 and pay such amount and Borrower shal then be obligaied under Secton 9 to repay 10 Lender any such amount.
                                                                                          notice given in accordance wil! Section
              Lender may revoke the waiver as to any o.r al Escrow Items ai any iim by a
              15 and. upon such revoction, Borrower shal pay to Lender al Fuds, and in such amounts, that are then required
              under this Secion 3.
                    Lender may, at any tie, collecl and hold Funds in an amount (a) suffcient to permit Leder 10 apply the Funds
              at the time specified under RESPA. and (b) not to exceed the maxum aiounr a leider ca require under RESl'A,
              Lender shall estiate the aiount of Funds due on the basis of current dat and reasonable estiates of expenditures
              of futue Escrow Items or omerwise in accordiice with Applicable Law.
                    The Funds shall be held in an institution whose deposits ar insured by II fedral agency, b!sinmenl2jty, or
              entity (including Lender, if Lender is an intiiion whose deposits ar so insured) or in any Federal Home Loan
              Ban, Lender shal apply the Funds to pay the Escrow Itern no later th the tie specified under RESPA, Lender
              shall not chage Borrower for holding and
                                                         applying the Funds, anualy analyzing the escrow account, or verifying
              the Escrow Items, unless Lender pays Borrower inieri on the Funds an ApplicabLe Law permit Lender to mae'
              such a charge. Unless an agreement is made in wrtin or Applible Law requires ineresi to be paid on the Funds,
              Lender shal nol be required to pay Borrower any inerest or earings on the Funds, Borrower and Lender can agree
              in writing, however, thai interest shal be pai on the Funds. Lender shal give to Borrower, without charge, an
              anual accounting of the Funds as required by RESPA.
                      If there is a surplus of Funds held in escrow, as defined under RESPA, Leder shal account tl Borrowedor
                                                                                   Funds held in escrow, as defined under RESPA,
               the excess funds in accordance with RESPA. lfthere is a shortage of

               Borrower Initial.;
                                                                                                       Doe1 OOO.....136~
                                                                                                            www.doam.glc.cam
               TENNESsEE..Singl. F.mlly-Fonnl. M..IFretdie Moe UNIFORM INSTRUMENT
               Form 3043 1101 Pege Il 01 13
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             Lender shall nolify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary 10 make
             up the shortage in accordance with RBSPA, bui ìn no more than 12 montly payments. ir there is a deficiency of
             Funds held in escrow, as defmed under RESPA, Lender shall noiiîy Borrower as required by RESPA, and Borrower
             shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than
             12 monthly payments,
                 Upon paymeni in full of al sums secured by llis Security Instrment. Lender shall prtimplly refund to Borrower
             any Funds held by Lender.
                  4. Charges¡ Lien. Borrower shall pay all taxes, asesments, chllges, fmes, and impositions attibutable to
             the Propert which can aiiain priority over this Securty Instrment, leaehold payments or groud rents on the
             Propert. if any. and Community Association Dues, Fees, and Assessments. if any. To the extent thai Uiese items
             are Escrow Items, Borrower sball pay them in lle maer provided in Section 3.
                  Borrower shall promptly discharge any lien which has priority over llis Seciriiy Instrment unless Borrower:
             (a) agrees in writig 10 Uie paymeD! of the obligation secured by the lien in a maner acceptable 10 Lender, but only
             so long as Borrower is perfomiing such agreement; (b) contests lle lien in good faill by, or defends against
             enforcement of lle lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement or the lien
             while those proceedings are pending, but only until such proceedings are concluded: or (c) secures from the holder
             of the lien an agreement satisfactory to Lender subordinatig the lien to llis Seurity Instrument. (f Lender
             delennines ihat any par of tle Propert is'subject to a lien which can att priority over this Security Instrment,
             Lender may give Borrower a noùce identifying me lien. Wirhin 10 days of the date On whIch llat notice is given,
             Borrower shall satisfy tle lien or tae one or lIore of tle actions sei fort above in this Section 4.
                  Lender may require Borrower to pay a one-time charge for a real estate iax verification and/or reponig service
             used by Lender in connection with ths Loan.
                  S. Property Insrance. Borrwer shall keep lle improvements now existig or hereafter erected on me
             Propeny insured agaist loss by fire, hiids included willin me ter "extended coverage,' and any other hads
             including, but not limited to, earquaes and floods, for which Lender reuires insurance. This inurance shall be
             maitaed in me amounts (including deductible levels) and for the periods that Lender requires. Whai Lender
             requir pursuant to the preceding sentenCeS ca change during lle ierm of Ibe Loan. The insurance carrier providing
             the insurance shall be chose by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall
             nol be exercised unreasonably. Lender may require Borrower to pay. in connection with this Loan, either: (a) a one.
             tie charge for flod zone detemuation, certfication and trackig services; or (b) a one-iime charge for flood rone
             detennation and cenification services and subsequent charges each tie remappings or similar changes occur which
             reasonably might arfeci such deieiiation or certfication. Borrwer shaH also be responsible for the payment of
             any fees imposed by the Federa Emergency Management Agency in connecon will tle review of any flood rone
             determinatin resuliig from an objection by Borrwer.
                  If Borrower fails to maintain any of the coverages described above, Lender may obta insurace coverage, at
             Leer's option and Borrower's expese. Leder is under no obligation 10 purcase any panicular tye or amount
             or coverage. Therefore, such coverage shal cover Lender, but might or might noi protect Borrower, Borrower's
             equity in the Propeny, or lle contents of lle Propeny, agaisi any risk, hazd or liabilty and might provide greater
             or lesser coverage than was previously in effect. Borrower acknowledges tlat the cost of the insurace coverage so
             obtained might significatly exceed the cost insurance
                                                          of         that Borrower cold have obíaed. Any amounts disbutsed
             by Lender under ths Section 5 shall beme additinal debt of
                                                                            Borrwer secred by Ibis Security Instrent. These
             amounts shall bear interest at the Note rate from lle date of disbursement and shall be payable. with such interest,
             upon notice from Lender to Borrower requesûog payment. .
                 All insurance policies required by Lender and renewals of su policies shal be subject to Lender's Tight to
             disapprove such policies, shall include a standard mortgage clause, and shal name Lender as mortgagee and/or as an
              additional loss payee. Lender shall have lle right ro hold the policies and renewal certficates. If Lender requires,
              Borrower shal prornptly give 10 Lender all receipts of paid premiurns and renewal notices. If Borrower obtas any
              form of insurance coverage; nol otherwise required by Lender, for damge to, or destrction of, !he Propert, suc
              policy shal include a standard mortgage clause and shall Dame Lender as rnngagee and/or as an additional loss
              payee.

              Borrower Initials:
                                                                                                      DoIcElwww.docm.glc.com
                                                                                                             000.64..'352
              Form 304 3 1/01 Pogo i; 01 13
              ìENNESSEE..Single f.rniiv..F.nn~ M.eIFr.ddlÐ Mee UNIFORM INSTRUMENT



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Case 3:10-cv-00271 Document 1-1 Filed 03/22/10 Page 47 of 51 PageID #: 53
                In the eveni of loss, Borrower shal give prompi noilce 10 the insurance carrer and Lender. Lender may make
           proof of loss ir nol made promplly by   Borrower, Unless Lender and Borrower othern'ise agree in writing, any
           insurance proceeds, whether or not the underlying insurance was required by Leiider, shall be applied to restoration
           or repair of the Propeny, if the restoration or repair is economically feaible and Lender's security is not lessened.
           Durig such repai and resioration period, Lender sllaU have the right to hold such insurance proceeds unti Lender
           has had an opportuniiy 10 inspect such Propert to ensure the work has been compleied to Lender's satisfaction,
           providcd that such inspection shall be underten promplly. Lender may disburse proceeds for the repairs and
           restoration in a single payment or in a series of progress payments as the work is completed. UlÙSS an agreement
           is made in wrting or Applicable Law requires interest 10 be paid on such insurance proceeds, Lender shall nol be
           required to pay Borrower any interest or earings on such proceeds, Fees forpublie adjusters, or other third paries,
           retaed by Borrwer shall DOt be paid oul of     me insurace proceeds and shall be the sole obligarion of Borrower.
           If the restoration or repai isnOl economically feaible or Lender's security would be lessened, the inurance proceeds
           shall be applied to !he sums secured by this Security Instrent, whether or not then due, wiiJ the excess, if any, paid
           10 Borrwer. Sucb insurance procees shall be applied in the order provided for in Section i.
                 If Borrower abandons the Propert, Lender may fie, negotiate and settle any avaiable insurance claim and
                             Borrower
           related matters. if          does not respond within 30 days to a notice from Lender that the insurance carier has
           offered to settle a claim, then Lender may negotiate and settle the clai. The 30-day period wil begin when the
           notice is given, In either event, or if Lender acquires the Propeny under Section 22 or otherwise, Borrower hereby
           assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed Ihe amounts unpaid
           under the Note or this Securiiy Instrment, and (b) any other of Borrower's rights (oiJer Ihan the fight to any refund
           of uneared premiums paid by Borrower) under all insurace policies coverig the Propeny, insofar as such rights
           are applicable to the coverage' of th Propert. Lender may use th insurance proceeds either to repai or restore the
           Propeny or to pay amounts unaid under the Note or this Security lnsmient, wheller or not then due.
                6. Occupancy. Borrower shall occupy, establish, and use the Propert as Borrower's pricipal residence
                                             this Security Instrent an sliall contiue 10 occupy!he
           within 60 days afer the execution of
                                                                                             Propert as Borrower's
           principa residence for IÌlleasl one year after th date of occupancy, unless Leder oilerwise agrees in wrtig, which

           contol. '
           consent shall not be uneasonably witheld, or unless extenu8Òg circumstaces exisl which are beyond Borrower's

                7, Preservatlon, Mainenance and Proteion of the Prope; Illpelons. Borrower shall not destroy,
           damage or impai the Prpert, allow the Proper to deteriorate or commt was on the Proper. WheiJer or not
           Borrwer is residing in the Propert, Borrower shall maitain the Propert in order to prevent the Propert from
           deteriorating or decreasing in value due to its condition, Unless it is determed puruant to Section 5 that repai or
           restoraton is noi economicaly feasible, Borrwer sball promptly repai th Propert if daiaged to avoid funher
           deterioration or damage. If insurance or c:ondemnation proceeds are paid in connection with damage to, or the takig
           of. the Proper, Borrower shall be responsible for repai or restorig the Propeny only if Lender has released
           proceeds for sucb puroses. Lender may disburse procees for the repais and restration in a single payment or in
           a series of progress payments as the work is complete. If the insurance or condenation proceeds are not suffcient
           to repai or resiore the Propert, Borrwe is nOl relieved ofBorTwer's obligation for the complenon of such repai
           or restoration.
                Lende or its agent may mak reasonable entres upon and inspections of the Propert. If it bas reasonable cause,
           Lender may inspect the interior of the improvements on the Propert. Lender shal give Borrower notice at the tie
           of or prior tosuch an interior inpection specifying such reaonable cause.
                 8. Borrower's Loan Appücatlon. . Borrwer sbal be in default if, during the Loan application proces,
           Borrower or any persons or entities actig at th directionBorrower
                                                                     of       or with Borrower's knowledge or consenl gave
           materially false, misleading, or inaccurate informaiion or statements to Lender (or faied to provide Lender with
           material infonnatNn) in connection with the Loan. Materialrepresentaiions include, but are not limted 10,
                                                           !he Proper as Borrwer's principal residence,
           representations concerning Borrower's occupancy of
                9. Protecton of Leder's Interest in the Prope and Rights Under this Security Instrument. If (a)
            Borrwer fais to perfomilhe covenants and agreements contaed in this Security Instmeni, (b) Ihere is a legal
                                                                                               ths Security Instrment
            proceeding thatmigbt significantly afect Lender's interest in the Properi andlor rights under
            (sucbas a proceeding iÌ banptcy, probate, for condemnatin or forfeirore, for enforcement of a lien which may
            Borrower Intials:
            TENNESSEE-.Sinle F.mlly.-F.nni. M.e/f'.ddie Moe UNIFORM INSTRUMENT . DoIceu 1J......i
            Form 3043 '/01 Pag. 6 ot 13 www.docmlll1/c.com

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                 aiiain priority over this Security Instrmenl or to enforce laws or regulations), or (c) Borrower has abandoned Uie
                 Propert, Oien Lender may do and pay for whaiever is reasonable or apl'ropriate to proteCi Lender's interest ili Uie
                 Proper£)' and rights under this Security Insirument, including protecting and/or assessing the value of the Propeny.
                                                                                                        limited 10: (a) paying any sums
                 and secunng and/or repairig the Propert. Lender's actions can include, but are not
                 secured by a lien which has priority over this Security Insirument; (b) appearing in court; and (c) paying reasonable
                 aiiomeys' fees to prOlect its interest in the Property and/or rights under this Security Instrment, including its secured
                 position in a bankruptcy proceeding. Securig ile Property includes, bUI is not limited to, eniering tiie Propert to
                 make repairs. change locks, replace or board up doors and winows, drain water from pipes, eliminate building or
                 oiher code violadom or dangerous conditions, and have utUities rnmed on or off, Although Lender mal' take action
                 under this Section 9, Lender does not have to do so and is not under any duty or obligatìon to do so. II is agreed thai
                 Lender incurs no liabilty for not takg any or all actions authorized under this Section 9,
                                                                                                                 Borrower secured by lhis
                        Any amounts disbursed by Lender under this Section 9 sball beome additional debt of
                 Security Instrment.    These amunts shal bear interest at the Note rate from the date of disbursemem and sball be
                 payable, wiil such interest, upon notice from Lender to Borrower requesung payment.
                      If this Security Instrment is 00 a leasehold, Borrower shaH comply with all the provisions of the lease. If
                 Borrower acquires fee title 10 the Propert, the leasehold and the fee title sball nol merge uiess Lender agrees to the
                 metger in writing.
                        ll. Mortgage Insurance. If    Lender required Mortgage Insurance as a condition of makig !he Loan, Borrower
                 sball pay the premiums required 10 maitain the Mortgage lnurance in effect. If, for any reason, the Mongage
                 Insurance coverage required by Lender ceases to be available from ile mongage insurer that previously provided such
                 insurance and Borrower was required to mak separately designated payments toward the premiums for Mortgage
                 Insuran, Borrower shall pay the premiums required to obtain coverage substarially equivalent to the Mortgage
                                                                                                                     Insurance '.
                 Insurance previously in effec, at a cost substatialy equivalent to the cost to Borrower of the Mortgage
                 previously in effect, from an allemate mortgage insurer selected by Lender, If substantially equivalent Mortgage
                 Insurance coverage is not available, Boirowershall contiue to pay to Leder the amouni of the separately designated
                 paymenis that were due when the inurance coverage ceaed to be in effect. LeDder wil accept, use and reta these
                 payments as a non-refundable loss reserve in lieu of
                                                                       Mortgage Insurance, Such loss resee shall be non.refundable,
                 notwithstading the fact that the Loan is ultimately paid in full, and Lender shal not be required to pay Borrower any
                 interest or eargs on such loss reserve. Lender can no longer reCJuíre loss reserve payments if Mortgage Insurance
                 coverage (m \he amunt and for me period tht Lender requires) provided by an insurer selected by Lender again
                 becomes avaiable, is obtaned, and Lender requires separately designated payments toward lhe premium for
                 Mortgage Insurance. If Lender requied Mongage Insurance as a conditon of makg the Loan and Borrower was
                 reqired to make separately designated payments toward the premums for Mortgage Insurace, Borrower shall pay
                 the   premiums reuired to maita Mortgage Insuran in effect, or to provide a non-refudable loss reserve, unti
                  Lender's.requirement for Mortgage Inurànce ends in
                                                                          accordace wilh any wrtten agreement between Borrower and
                  Lender providig for such termation or unti teration is requir by Applicable Law. Nothing in th Section
                  1o   affects Borrower's obligaton to pay intereSt at the.rate provided in th Note.
                         Mortgage Inurance reimburses Leder (or any entity milt purchases the Note) for certai losses it may incur
                  if Borrower does not repay the Loan as agreed. Borrower is not a Par to the Mongage Insrance.
                         Mortgage inurers evaluat their tota risk on all such inuran in forc from time to tie, and may enter into
                  agreements  with ower paries thai share or modify their risk, or reduce losses. These agrements a.re on ierms and
                  conditions thatare   satisfactory to me mortgage insurer and tle olher par (or pares) to these agreements. Thee
                                                                                                          funds ilat the mortgage insurer
                  agreements may require the mortgage inurer to make payments using any source of
                  may ha:ve available (which may include funds obtained from Mortgage Insurance premiums).                           other
                         As a result ofthese agreements, Lender, any purcaser of tle Note, another insurer, any reinsurer, any
                                                                                                                                    might
                  entity, or any afi1lateof any of the foregoing, may receive (directly or indirtly) amunis that derive from (or
                                                Borrower's
                  be characæriied as) a portion of             payments for Moitgage Insurance, in eitchange for sliaring or modifying
                  ile' mortgage insurer's risk, or reucing losse, If sucll agreement provides ilat anafi1iaie of Lender ta a sbare
                  of the iiunr's rik in exchange for a sbare of tle premiums páid to the insurer, the arrangement is often termed
                  'captive reinsurance.' Furter:

                   Borrower Initials:
                                                                                                             DoIc~ SQO.64S.,.j61
                                                                                                                   WWW.dOcfflJg/c.com
                   Form 3043 1101 PBg" 7 01 13
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                          (Ii) Any such agreements wil not affect the amounts that Borrower hIl agree w pay for Mortgage
                     Insurance, or an)' other lerms of the Loan. Such agreements wil not increae the ainount Borrower wil owe
                     for Mortgage Insurance, and they wil not entitle Borrower to any refund.
                         (b) Any such agreements wil Dot affecl tbe rights Borrower has. If any. with respet to thc Mortgage
                     Imurance under the Homeowners Protection. Act of 1998 or any other law. Tbese rights rna)' include the right
                     to recive certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the
                                                                                                                     Insurance premiums
                     Mortgage Insurance terminated automaticall)', andlor to recelveii refund of an)' Mortgage
                     ihal were unearned at the time of such cancellation or tenninatIon. '
                          11. Assignment of MicellaneOus Proceeds; ForfeIture. All Miscellaneous Proceeds are hereby assigned 10
                     an shall be paid to Lender.
                                                                                                                              the Propert,
                          lfthe Propeny is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
                     if the restoration or repair is economicauy feasible and Lender's security is nol lessened. During such repai and
                     restoration period, Lender shall have the right 10 hold such Miscellaneous Procs until Lender has had aD
                     opporrniiy to inspect such Propert to ensure the work has been compleied to Lender's sausfacrion. provided that
                     such inspeciion shall be undenaken promptly. Lender may pay for the repairs an restoration in a single disbursement
                     or in a series of progress payments as the work is completed, Unless an agreement is made in writig or Applicable
                     Law requires interest to be paid on such Miscellaneous Proceeds, Lender shal not be required to pay Borrower any
                     interest or eaings OD such Miscellaneous Proceeds. If the restoration or repair isnol econoiically feasible or
                     Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to ùie sums secured by this Securiy
                     Instruenl, wheter or not then due, wiÚl the eJtcess. if any. paid to Borrower. Such Miscellaneous Proceeds shall
                     be applied in the order provided for in Section 2.
                          In !he event of a iota takg, destrction, or loss in value oftl Propeny. the Miscellaneòus Proceeds shall be
                     applied to the sums secured by this Security Instniment. w,heiJer or not !hen due, with the e"cess, if any, paidctcr
                     Borrower.
                          In the even! of a paral tag, destrction, or loss in value of the Propert in which the fair market value of
                     the Propeny iniately before the parial tag. desinrction, or loss In value is equal to or greaier than the amount
                     of the sums seured by this Security Instnment imediately before the parial takig, destnictlon, or loss in value,
                     unless Borrower and Lender otherwise agree in writing, the sunu secred by ths Security Instnment shal be reduced
                     by the amunt of the Míscellaneous Proceeds multIplied by the followig fraction: (a) the tota amount of me sums
                     secured iiediately before the parial tag, destrction, or loss ín value divided by (b) the fai market value of me
                     Propert imediately before the paral takg, destrction, or loss in vaue. Any balance shall be paid 10 Borrowe,
                          In me event of a paral tlg, destrcton, or loss in value of the Propert in which the fair markei value of
                     the Propert imediately before the paral tag, destrction. or loss in value is less than the amouni of the sum
                     SCured íiediately before the panial tag, desictin, or loss Ü1 value, uness Borrwer an Lender otherwis
                     agree in writing, the Miscellaneous Proceeds shall be applied 10 the sums secured by this Security Instnment whether
                     or Dot the sums are thcn due.
                          ir me Propert Is abandoned by Borrwer, or If, after notice by Lender to Borrower th the Opposing Pany (as
                     defined in thc neJtt sentenc) offers to make an award to sette a claim for damages, Borrwer fais 10 respond to
                     Lender within 30 days afr the date the notice is given, Lender is authorized to collec and apply the Miscellaneous
                     Proceeds either 10 restoration or rel'air of the Propert or to me sums secured by thís Secrity Instrent, whemer
                     or nor then due. "OpPosÜ1g Pan" mean the third par mat owes Borrower Miscellaneous Proceeds or the par
                      againt whom Borrower ha a right of action in regard to Miscellaneous Proceds.
                           Borower shal be in default if any action or preeding, whether civil or criaI, is begun that, in Lender's
                     judgment, could result in forfeínire of ùie Propert or other material ìmpaieDt of Leder's interest in the Prpert
                      or rights under ùiis Securty Intrment. Borrower ca cure sum a default an. if acceleratIon has occumd. reinstate
                      as provided in Section '19, by causing the action or proceeding to be dismissed with a oiling mat, in Lender's
                      judgment, precludes forfeiture of me Propert or other material impainenl of Lender's Ü1rerest in the Proper or
                      righis under this Security liirinent. The proceeds of any award or clai for damages thai are attributable to the
                      impairént of Lender's interest in the Propert arliereby assigned and shal be paid to Lender. be' applied in th
                                                                                                 the Propèrt shall
                           All Miscellaneous Proceeds mat are Dot applied to resiorauon or rcpaif of
                      order provided for in Section 2.
                      Borrower Initials;
                                                                                                               DoG~wW'W.
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           12. Borrower Not RcleJsed; Forbearance By Lender Not il Waiver. Extension of the lime for payment or
      modification of amonization of the sums secured by this Security Instrument gnited by Lender 10 Borrower or any
      Successor in Inierest of Borrower shall nor operate to release the liabilty of Borrower or any Successors inBorrower
                                                                                                                   1merest
      of Borrower, Lender shali not be required \0 commence proceedings against'any Successor in Interest of
                                                                                                                   Security .
      or to refuse 10 extend time for payment or otherwise modify amortization of the sums secured by this
      Instrment by reason of any demand made by the original Borrower or any Successors in Imerest Df BorrDwer. Any
      fDrbearance by Lender in exercising any righl or remedy including, wíthoui limiration. Lender's acceptance of
      payments from third per.ons, enrities or Suceessors in Interest of Borrower or in amDunlJ less than Ibe amunt then
      due, shall not be a waiver of or preclude Ibe exercise of any righr or remedy.
            13. Joint and Several Llabílt)'; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees
                                                                                                 who co-signs uiis Security
      that Borrower's obligations and liabilty shall be joinl and several. However, any Borrower
      Instrument but doe not execute U\e Note (a .co-signer"): (a) is co-signing th Security 1nsui¡nni only to mongage.
      grant and convey. Ibe co-signer's interest in the Propeny under the terms of U\is Security Instrment; (b) is not
                                                                                        agrees Ibat Lender and any other
      personally obligated to pay the sums secured by this Security liimument; and (c)
      Borrower can agree to extend, modify, forbear or make any acconudations wilb regard to th terms of this Security
      lnsrrmefi or the Note without the co-signer's consent. .
            Subject to the provisions of Section 18, any Successor in Interest of Bon'ower who assumes Borrower's
      obligations under this Securty Il1tient in wnting. and is approved by Lender, shall obtain all of Borrwe's rights
      and benefits under this Security Instrment. Borrower shall not be released from Borrower's obligations and liabilty
      under this Security Instrment uness Lender agres to such release in wrtig. The covenants and agreements of this
      Security Instrent shal bind (except as provided in Section 20) and benefit the succesors and assigns of Lender.
            14. Loan Charges.    Lender may charge Borrwer fees for services perfonnd in coiueciion with Borrwer's
                                                                                    rights under th Security Insoiment,
      default, for the purpose of protecting Lender's intere in the Propert and
      including, but not liited to. attorneys' fees, properi inspection and valuation fees, In regard to any other fees, the
      absence of express authority in this Security Instrment to charge a specific fee to Borrower shaD not be constred
      as a prohibition on Ibe charging of such fee, Leder may
                                                               not charge fees that are expressly prohibited by this Security
      Insinment or by Applicable Law.
           If the Loan is subject to a law whic selS maximum loan charges, and that law is fmaly interpreted so that the
      interest or other loan charges collected or to be colleted in connection with the Loan excee the penniited limits,
      then: (8) any such loan charge shan  be reduced by th amount necssar to reduce the charge to the permited limit;
      and (b) any sums alady collecd from Borrower which e~ceeded permtted limits wil be refuded to Borrwer,
      Leder may choose to make this refud by reucing the pricipal owed under the Note or by makg a direct payment
      to Borrower. If a refund reduces pricipal, the reduction wil be trated as a parial prepayment without any
      prepayment charge (whether or not a prepayment charge is provided for
                                                                                under the Noie). Borrower's accptace of
      any such refund made by direct payment to Borower wil constitute a waiver of any rigbt of action Borrower might
      have arsing out of such overcharge.
            15. Notices, AU notices given by Borrower or Leder in connection with this Security Instruent must be in
      writing, Any notice to Borrower in connction wi1h this Security Instneni shal be deemed to have been given to
      Borrower when maied by flfst claSs mai or when actually delivered to Borrower' 5 notice address if.sent by other
      means. Notice. to anyone Borrwer shal constitute notice to all Borrwer unle5s Applicable Law expressly requir
       olberwi5e. The oDtice address saal! be the Propert Addrss uneis Borrower has designated a substiiute notice
                                                                          Borrower's change of address. If Lender
       address by nDtice to Lender. Borrower shal promptly notify Lender of
       specifies 8 procedure for reponig Borrower's changeaf address, then Borrower shall only report a change of address
       through that specified procedure. There may be only one designate notice address under this Security lnsrrment
       at anyone time. Any notice \0 Lender shal be given
                                                           by deliverig ii or by mailing it by firs class mai to Lender's
       addre5s stted herein unless Lender has designated another address by norice 10 Borrwer, Any norice in connection
       wiUl this Security ¡nstrment shall not be deemed to have been given to Lender uniil actualy received by Leder.
       If any noiice required by this Security Instrment is also required uner Applicable Law, the Applicable Law
       requirement wil satisfy the   corresponding requirement under this Securty Instrment.
             16. Governing Law; Severabilt)'; Rules of Constrction. This Security IÌstrrneitshallbegovérned'by
       federal law an the law of the jurisdiction in which the Propert is located. All rights and obligatiòns comained in
       . Borrwer Jiltia!.:
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